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structures and asset combinations that they believed maximized their return and provided value
to ResCap.1310 The exhibit below presents an example of the proposed structure.




     On February 17, 2012, Centerview received preliminary LOIs from Centerbridge and
Fortress.1311

     Centerbridge’s February 17, 2012 LOI included a bid of $1.5 billion, which was
approximately 76% of the $2 billion book value (as of December 31, 2011) of the following
assets: FNMA/FHLMC MSRs and advances, GNMA MSRs and advances, PLS MSRs, first lien
performing whole loans (less than 60 days delinquent), the servicing platform, and the consumer
origination platform.1312 The Centerbridge bid excluded assets with a book value of $4.4 billion,



1310 Id.

1311 See Letter from L. West to K. Chopra (Feb. 17, 2012) [CCM00483106]; Letter from W. Edens to K. Chopra

    (Feb. 17, 2012) [ALLY_0367789]; see also Materials for Discussion, dated Feb. 24, 2012, at 1
    [EXAM20194424]. Cerberus and PennyMac elected not to submit bids at this time. Materials for Discussion,
    dated Feb. 24, 2012, at 1 [EXAM20194424]. Ocwen also submitted a preliminary LOI on February 20, 2012.
    See Letter from R. Faris to K. Chopra (Feb. 20, 2012) [RC00000585]. Centerview advised ResCap that it should
    primarily consider the bids from Fortress and Centerbridge because Ocwen bid only on the PLS portfolio.
    Meeting with Centerview, Investment Banker to the Debtors, in N.Y., N.Y. (Jan. 18, 2013), at 1. Ocwen’s LOI
    also required debt financing to support the transaction. Materials for Discussion, dated Feb. 24, 2012, at 6
    [EXAM00015700].
1312 Materials for Discussion, dated Feb. 24, 2012, at 4–5 [EXAM20194424].



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or 69% of the assets of ResCap, including GNMA AR and GNMA loans included in the whole
loan portfolio, certain legacy assets, other MSRs and advances, existing fee based advances, and
certain other assets.1313 While Centerbridge did not have licenses required to originate and
service loans, it was willing to explore alternate solutions such as acquiring BMMZ, which held
the necessary licenses.1314 The exhibit below shows the assets included in the Centerbridge
stalking horse bid.




     Centerbridge’s bid included equity of $700 million and debt financing of $900 million.1315
Wells Fargo proposed $825 million of structured asset-based financing contingent on agreement
with GSEs limiting set-off rights.1316 Barclays also proposed a $700 million term loan facility.1317

     Fortress’s February 17, 2012 LOI included a bid of $2.6 billion, which was approximately
94% of the $2.8 billion book value (as of December 31, 2011) of the following assets: FNMA/
FHLMC MSRs, GNMA MSRs, PLS MSRs, first lien performing whole loans (less than 60 days
delinquent), first lien non-performing whole loans, second lien whole loans, home equity and
other whole loans, trading securities, the servicing platform, and the consumer origination
platform.1318 The Fortress bid excluded assets with a book value of $3.6 billion, or 56% of assets
of ResCap, including PLS and other advances, Master Servicing MSRs, GNMA AR and GNMA
loans included in the whole loan portfolio, existing fee-based advances, MSR advances, legacy
asset advances, and certain other assets.1319 Unlike Centerbridge, Fortress had the necessary




1313 Id.

1314 Materials for Discussion, dated Feb. 24, 2012, at 6 [EXAM00015700].

1315 Id.

1316 Id.

1317 Id.

1318 Materials for Discussion, dated Feb. 24, 2012, at 4 [EXAM20194424].

1319 Id.



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licenses to originate and service loans through its Nationstar and Newcastle portfolio
companies.1320 The exhibit below shows the assets included in the Fortress stalking horse bid.




     On February 22, 2012, ResCap distributed letters to Centerbridge and Fortress requesting
additional information and detail with respect to potential bid adjustments.1321

     In response, on February 28, 2012, Centerbridge revised its LOI to incorporate a broader
range of assets, including PLS advances, non-performing first lien loans, and second lien loans
in the ResCap legacy portfolio.1322 Additional terms of Centerbridge’s revised LOI are
summarized below:

           •   Removed the financing contingency related to GSE stipulations but increased required
               financing support from ResCap/AFI;1323

           •   Included a request of AFI to purchase GNMA Department of Veterans Affairs (VA)
               MSR and subservice them back to NewCo or indemnify NewCo against costs arising
               from VA servicing obligations;1324 and




1320 Materials for Discussion, dated Feb. 24, 2012, at 6 [EXAM00015700]

1321 Materials for Discussion, dated Feb. 24, 2012, at 1 [EXAM20194424].

1322 See Letter from L. West to M. Puntus and S. Greene (Feb. 28, 2012) [RC00000560]; Materials for Discussion,

    dated Feb. 29, 2012, at 1 [RC40020394].
1323 Materials for Discussion, dated Feb. 29, 2012, at 1 [RC40020394].

1324 Id.



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           •     Reduced the purchase price on assets included in the initial bid to $1.4 billion from
                 $1.5 billion1325 but increased the total bid to $3.2 billion.1326




      Fortress also responded to ResCap’s request and, on February 28, 2012, revised its LOI to
increase the purchase price on assets included in the initial bid by $100 million and expanded the
assets purchased to include Agency and PLS advances, which increased the total bid to $4.2
billion.1327 The exhibit below shows the assets included in and excluded from the Fortress
February 17, 2012 and February 28, 2012 stalking horse bids.




1325 Id.

1326 Id. at 2.

1327 See Letter from W. Edens to S. Greene (Feb. 28, 2012) [ALLY_0001709]; Materials for Discussion, dated

    Feb. 29, 2012, at 1 [RC40020394].

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     The Fortress LOI included equity of $1.3 billion ($1 billion for the servicing/origination
platform assets and $320 million for the HFS Portfolio), which would be sourced from
Nationstar and Newcastle.1328 There were no financing contingencies for the purchase of the
platform assets; Fortress, however, requested seller financing to purchase the HFS Portfolio.

     The below exhibit compares the February 28, 2012 revised bids of Centerbridge and
Fortress.




1328 Materials for Discussion, dated Feb. 24, 2012, at 6 [EXAM00015700]



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      On February 29, 2012, Centerview presented the bid summaries to the ResCap Board.1329
Fortress was selected as the “exclusive bidder” by ResCap with the goal of working
expeditiously towards a binding asset purchase agreement in advance of a chapter 11
filing.1330

      The Fortress proposed transaction overview is presented in the exhibit below. Fortress
anticipated that its Nationstar portfolio company would acquire and operate ResCap as a
standalone platform.1331 As the primary operating owner and GSE interface, Nationstar would
contribute a significant portion of the purchase price with the balance from other Fortress
affiliates.1332




1329 Id. at 1.

1330 Transaction Discussion, dated Mar. 19, 2012, at 3 [EXAM00015730].

1331 Id. at 7.

1332 Id. at 7.



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    Fortress and its advisors conducted extensive legal and business due diligence after
becoming the exclusive bidder on February 29, 2012.1333 In addition to ongoing due diligence
and the drafting of an asset purchase agreement, Fortress and ResCap worked together to
develop short-term and long-term integration plans.1334

     Fortress submitted a revised bid on April 12, 2012 for ResCap’s assets.1335 The “headline”
bid amount did not materially change from the prior bid,1336 but the bid was revised to include
the following AFI support conditions:

           •     AFI was to provide financing for the purchase of the HFS Portfolio at an 80% advance
                 rate of LIBOR+250. Without financing, the HFS Portfolio purchase price would have
                 decreased by $200 million;1337

           •     AFI was to provide financing for the purchase of $223 million of subservicing
                 advances and finance new advances (with a book value of $248 million) at an 80%
                 advance rate of LIBOR+250;1338 and

           •     Without financing, the MSR purchase price would have been reduced by $30 million,
                 and the old advances would have been left in the Estate.1339

     Additionally, Fortress assigned a value of $150 million to the long-term subservicing
contract for the Ally Bank MSR portfolio with full refinancing and solicitation rights.1340
Without the sub-servicing agreement with Ally Bank, the MSR purchase price would have been
reduced by $180 million ($150 million value of long-term subservicing contract plus $30 million
reduction to the MSR purchase price).1341 Below is a summary of the February 28, 2012 bid
versus the revised April 12, 2012 bid with and without AFI support.
1333 Id. at 3.

1334 Id. While Fortress conducted additional due diligence, various other parties expressed interest in other strategic

    alternatives that were outside of the section 363 marketing process. Elliott Associates LP (“Elliott”) sent two
    letters to AFI suggesting that an in-court restructuring was not the best option for AFI. Elliot indicated that an
    in-court restructuring would accelerate putbacks, trigger a torrent of lawsuits, and cause the U.S. Treasury, GM,
    AFI shareholders, and AFI creditors to suffer. Elliott indicated that the liabilities stemming from representation
    and warranty claims would be a large risk to AFI in bankruptcy. Additionally, Elliott noted that AFI should
    minimize the perceived risk for putback liabilities by improving the capitalization of AFI. See Letter from D.
    Cederholm (Mar. 22, 2012) [ALLY_PEO_0035610]; E-mail from D. Cederholm (Feb. 15, 2012), at
    ALLY_0380883–85 [ALLY_0380883] (detailing Elliot’s views on a ResCap bankruptcy).
1335 Evercore, Kirkland & Ellis, and Mayer Brown Project Rodeo Discussion Materials, dated Apr. 23, 2012, at 2

    [CCM00335615].
1336 Id.

1337 Id.

1338 Id.

1339 Id.

1340 Id.

1341 Id.



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     After Fortress revised its bid on the HFS Portfolio to be $1.6 billion with financing from
AFI or $1.4 billion without,1342 AFI indicated it would not provide financing but offered to
purchase the HFS Portfolio for $1.6 billion if sold pursuant to a plan of reorganization that
included a Third-Party Release or $1.4 billion pursuant to a section 363 sale.1343 AFI sought to
have its $200 million incremental bid considered “firm settlement credit” even if it was overbid
in the auction.1344 ResCap, concerned that it could lose AFI’s bid altogether, agreed to confirm
the settlement credit.1345




1342 Id.

1343 Centerview Materials for Discussion, dated May 4, 2012, at RC40020573 [RC40020568]; Evercore, Kirkland &

    Ellis, and Mayer Brown Project Rodeo Discussion Materials, dated Apr. 23, 2012, at 3–4 [CCM00335615].
    Centerview stated that the AFI settlement credit relating to the stalking horse bid on the HFS Portfolio was
    heavily negotiated between AFI and ResCap. At one point, AFI’s bid was $1.2 billion pursuant to a section 363
    sale and $1.6 billion pursuant to a plan, which would have resulted in a $400 million AFI settlement credit.
    Meeting with Centerview, Investment Banker to the Debtors, in N.Y., N.Y. (Jan. 18, 2013).
1344 E-mail from L. Tessler (Apr. 28, 2012) [EXAM11114982].

1345 E-mails between J. Ilany and T. Marano (Apr. 28–29, 2012) [EXAM11114982].



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     On May 2, 2012, Fortress revised its bid again to reduce its bid value for the Platform Sale by
$380 million, of which $170 million stemmed from AFI’s decision not to offer subservicing on the
Ally Bank MSR and HFI/HFS portfolios.1346 Below is a comparison of the Fortress bids from
February 2012 and May 2012.




      Centerview determined that, even though the AFI and Fortress stalking horse bids on the HFS
Portfolio were of similar amounts, AFI’s bid was better.1347 Centerview indicated that Fortress had
not done due diligence on the HFS Portfolio and, thus, its final bid amount could be reduced
downward after additional due diligence.1348 Additionally, AFI was not requesting a break-up
fee.1349 Centerview believed that AFI’s stalking horse bid was a good backup plan since lack of a
break-up fee would not discourage bidders from participating in the auction.1350
1346 Centerview Materials for Discussion, dated May 4, 2012, at RC40020573 [RC40020568].

1347 Meeting with Centerview, Investment Banker to the Debtors, in N.Y., N.Y. (Jan. 18, 2013).

1348 Id.

1349 Id.

1350 Id.



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     On the Petition Date, ResCap filed two stalking horse bids with the Bankruptcy Court.
Fortress (through Nationstar) was the proposed stalking horse bidder for the Platform Sale,1351
and AFI was the proposed stalking horse bidder for the Legacy Sale of the HFS Portfolio.1352
The Fortress bid was $2.3 billion for the Platform Sale, of which approximately $200 million
was related to the GNMA MSR.1353 If Fortress was not the successful bidder, it would have
been entitled to a $72 million break-up fee plus reimbursement of actual, reasonable, out-of-
pocket expenses incurred, not to exceed $10 million.1354

     As noted above, AFI’s bid was $1.6 billion if the sale was consummated pursuant to a
chapter 11 plan or $1.4 billion if pursuant to section 363.1355 Subject to a higher bid, the AFI
purchased assets could be sold separately or together with the Fortress assets.1356 There were
no break-up fees required in the AFI stalking horse bid.1357

     On June 11, 2012, Berkshire Hathaway filed an objection to the Debtors’ Postpetition
Asset Sales.1358 In its objection, Berkshire Hathaway argued that the structure of the Legacy
Sale provided AFI with an unfair advantage at the auction and would discourage third-party




1351 See Debtors’ Motion Pursuant to 11 U.S.C. §§ 105, 363(b), (f), and (m), 365 and 1123, and Fed. R. Bankr. P.

    2002, 6004, 6006, and 9014 For Order: (A)(I) Authorizing and Approving Sale Procedures, Including Break-
    Up Fee and Expense Reimbursement; (II) Scheduling Bid Deadline and Sale Hearing; (III) Approving Form
    and Manner of Notice Thereof; and (IV) Granting Related Relief and (B)(I) Authorizing the Sale of Certain
    Assets Free and Clear of Liens, Claims, Encumbrances, and Other Interests; (II) Authorizing and Approving
    Asset Purchase Agreements Thereto; (III) Approving the Assumption and Assignment of Certain Executory
    Contracts and Unexpired Leases Related Thereto; and (IV) Granting Related Relief [Docket No. 61] at 2, ¶ 7
    [hereinafter Sale Procedures Motion]; see also Nationstar Asset Purchase Agreement [Docket No. 61-2].
1352 See Sale Procedures Motion [Docket No. 61] at 3, ¶ 6; see also AFI Asset Purchase Agreement [Docket

    No. 61-3].
1353 Sale Procedures Motion [Docket No. 61] ¶ 7. Subject to a higher bid, the GNMA MSRs could be sold

    separately from the other Platform Assets. Id. ¶ 50.
1354 Id. ¶ 58(i).

1355 Id. ¶¶ 6–7.

1356 Id.

1357 Id. ¶ 58(i); Meeting with Centerview, Investment Banker to the Debtors, in N.Y., N.Y. (Jan. 18, 2013).

1358 Objection of Berkshire Hathaway Inc. to Debtors’ Motion Pursuant to 11 U.S.C. §§ 105, 363(b), (f), and (m),

    365 and 1123, and Fed. R. Bankr. P. 2002, 6004, 6006, and 9014 For Orders: (A)(I) Authorizing and
    Approving Sale Procedures, Including Break-Up Fee and Expense Reimbursement; (II) Scheduling Bid
    Deadline and Sale Hearing; (III) Approving Form and Manner of Notice Thereof; and (IV) Granting Related
    Relief and (B)(I) Authorizing the Sale of Certain Assets Free and Clear of Liens, Claims, Encumbrances, and
    Other Interests; (II) Authorizing and Approving Asset Purchase Agreements Thereto; (III) Approving the
    Assumption and Assignment of Certain Executory Contracts and Unexpired Leases Related Thereto; and
    (IV) Granting Related Relief [Docket No. 284].

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bidding because of the conditional increase in purchase price from $1.4 billion to $1.6
billion.1359 In addition, Berkshire Hathaway offered to serve as the designated stalking horse
bidder for either or both the Platform Sale and the Legacy Sale.1360 Berkshire Hathaway’s bid
with respect to the Platform Sale proposed the same purchase price with substantially the same
terms as Fortress, but reduced the break-up fees and related expenses to $24 million.1361 The
Berkshire Hathaway bid for the Legacy Sale was for $50 million more than AFI’s bid, but
included a 3% break-up fee.1362

     Centerview believed that, if Berkshire Hathaway had served as stalking horse bidder for
the Platform Sale, other parties might not have participated in the auction as they may not
have wanted to bid against Berkshire Hathaway because of its size and reputation.1363

     On June 28, 2012, the Bankruptcy Court entered an order ruling that Berkshire Hathaway
would replace AFI as the stalking horse bidder for the Legacy Sale with a $10 million break-
up fee, and that Fortress (through Nationstar) would serve as the stalking horse bidder for the
Platform Sale with a $24 million break-up fee.1364

     On October 23, 2012, the Debtors conducted the auction for the Platform Sale in which
Fortress had the opening bid of $2.4 billion.1365 Ultimately, Walter Investment Management
Corp. (“Walter”) and Ocwen offered the highest and best bid of $3 billion.1366 The sale of the




1359 Id. ¶ 5.

1360 Id. ¶ 2.

1361 Id. ¶ 3.

1362 Id. ¶ 4.

1363 Meeting with Centerview, Investment Banker to the Debtors, in N.Y., N.Y. (Jan. 18, 2013).

1364 Order Under 11 U.S.C. §§ 105, 363(b) And 365 (I) Authorizing And Approving Sale Procedures, Including

    Payment Of Break-Up Fees; (II) Scheduling Bid Deadline, Auction (If Necessary) And Sale Hearing; (III)
    Establishing Assumption And Assignment Procedures, Including Procedures For Fixing Cure Amounts; And
    (IV) Establishing Notice Procedures And Approving Forms Of Notice [Docket No. 538] at 1–2 [hereinafter
    Order Approving Sale Procedures].
1365 On June 28, 2012, Fortress amended its Asset Purchase Agreement to, among other things, increase the

    aggregate purchase price for the Platform Sale by $125 million (or, if the MSR related to the loans
    guaranteed by Ginnie Mae and the related servicing advances were sold to another bidder, by $85 million).
    This increased the Fortress stalking horse bid from $2.3 billion, as filed on the Petition Date, to $2.4 billion.
    Sales Procedure Motion, ¶ 6; Nationstar Mortgage LLC, Current Report (Form 8-K) (July 5, 2012), Item
    1.01.
1366 Notice of Successful Bidders at the Auctions and Sales of (A) the Platform Assets to Ocwen Loan Servicing,

    LLC and (B) the Whole Loan Assets to Berkshire Hathaway Inc. [Docket No. 1960] at 3; Third Stipulation
    and Order Amending the AFI DIP and Cash Collateral Order [Docket No. 3230] at 2–3 [hereinafter Third
    AFI DIP Order].

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origination and capital markets platform assets to Walter closed on January 31, 2013.1367 The
sale of the servicing platform assets to Ocwen closed on February 15, 2013.1368

     On October 25, 2012, the Debtors conducted the auction for the Legacy Sale in which
Berkshire Hathaway had the opening bid of $1.45 billion.1369 Berkshire Hathaway ultimately
prevailed after raising its bid to $1.5 billion because of competition from a number of bidders,
including Bayview Acquisitions LLC, DLJ Mortgage Capital Inc., Roosevelt Depositor LLC,
Roosevelt Mortgage Acquisition Co., and Selene Finance LP.1370 The sale to Berkshire
Hathaway closed on February 5, 2013.1371

                   (3) Bankruptcy Filing Timing Considerations

     In January 2012, AFI and its advisors suggested that ResCap be prepared to file the
Chapter 11 Cases by March 30, 2012, which was the maturity date of the Citibank MSR Loan
Agreement.1372 Although AFI recognized that “Centerview [was] setting the pace,” as the sale
process moved forward, AFI became concerned that the overall bankruptcy project was
progressing too slowly.1373 On January 20, 2012, Carpenter informed Marano that “we need
any third party stalking horse[] bid[s] nailed down by [February] 28 to meet the necessary
timeline.”1374
     Meanwhile, AFI understood that several other involved parties—including ResCap and
its advisors, the GSEs, ratings agencies, and the U.S. Treasury—viewed AFI’s proposed
timeline as “too aggressive.”1375 As Jeff Brown, AFI’s Senior Executive Vice President of
Finance and Corporate Planning, explained in an e-mail to Carpenter, “[m]ore time allows
smoother process, but also comes at the expense of more support in the interim. Centerview



1367 Residential
               Capital, LLC, Press Release, ResCap Completes Sale of Origination and Capital Markets
    Platform Assets to Walter Investment Management Corp. (Jan. 31, 2013), http://www.kccllc.net/documents/
    1212020/1212020130131000000000013.pdf; Third AFI DIP Order, at 2–3.
1368 Residential Capital, LLC, Press Release, ResCap Completes Sale of Servicing Platform Assets to Ocwen Loan

    Servicing, LLC (Feb. 15, 2013), http://www.kccllc.net/documents/1212020/1212020130215000000000010.pdf;
    Third AFI DIP Order, at 2–3.
1369 Sales Procedure Motion,¶ 6: Order Approving Sale Procedures, at 4.

1370 Notice of Successful Bidders at the Auctions and Sales of (A) the Platform Assets to Ocwen Loan Servicing,

    LLC and (B) the Whole Loan Assets to Berkshire Hathaway Inc. [Docket No. 1960] at 3.
1371 Residential
               Capital, LLC, Press Release, ResCap Completes Sale of Whole Loan Portfolio to Berkshire
    Hathaway (Feb. 5, 2013), http://www.kccllc.net/documents/1212020/1212020130205000000000002.pdf;
    Third AFI DIP Order, at 2–3.
1372 See Materials for Discussion, dated Jan. 10, 2012, at 30 [RC00000200].

1373 E-mail from M. Carpenter (Jan. 17, 2012) [ALLY_0187331]

1374 E-mail from M. Carpenter to T. Marano (Jan. 20, 2012) [EXAM00010758].

1375 E-mail from J. Brown to M. Carpenter (Jan. 31, 2012) [ALLY_0141903].



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thinks end May or June realistic, but that may mean several hundred million more in support
to ResCap.”1376 In response, Carpenter e-mailed Brown stating, “[n]o way we can do this
through May/June.”1377

     On February 2, 2012, William Solomon, General Counsel of AFI, reportedly committed
to being “done” with Project Bounce by “the 10th.”1378 In response to concerns from ResCap’s
in-house counsel regarding that deadline, Solomon reportedly stated, “[Hamzehpour] reports
to me and I’m commiting [sic] to getting it done by the 10th. . . . [C]rank up MoFo if you have
to because it needs to get done.”1379 By April 11, 2012, Pam West, an Independent Director on
the ResCap Board, understood AFI to be “pushing for [an] April 30 filing.”1380

     Notwithstanding the timing pressure from AFI, ResCap’s counsel asserted that ResCap
“took whatever time [it] thought was necessary and appropriate” and did not think the timing
pressure had any impact on the pre-bankruptcy marketing of ResCap’s assets.1381 John Mack,
an Independent Director of the ResCap Board, explained that AFI’s timing suggestions were
“never an issue” because it was ResCap’s “position that we couldn’t logistically get there.”1382

     On April 12, 2012, the ResCap Board resolved not to make the scheduled April 17, 2012
interest payment due under the Unsecured Notes, but instead to use “the 30-day grace period
allowed under the related indenture.”1383 At that point, a bankruptcy filing the week of
May 14, 2012 was all but settled.1384 When the ResCap Board made that decision, ResCap had
1376 Id.

1377 E-mail from M. Carpenter to J. Brown (Feb. 1, 2012) [ALLY_0141903].

1378 E-mail from M. Fahy Woehr to T. Hamzehpour (Feb. 2, 2012) [EXAM20180037]. It is unclear which month

    is being referred to in the e-mail. Solomon agreed that the quote attributed to him in the e-mail “sounds like
    me.” Int. of W. Solomon, Mar. 19, 2013, at 98:19–99:8. Solomon stated that he believes the e-mail and the
    deadline referred to therein related only to the Shared Services Agreement, see id. at 97:12–98:18, and that
    appears to be true. See E-mail from J. Mackey (Feb. 18, 2012) [EXAM20283454] (“We all had agreed [the
    Shared Services Agreement] would be finalized and ready to go on feb 10th. Obviously we have missed that
    deadline.”).
1379 E-mail from M. Fahy Woehr to T. Hamzehpour (Feb. 2, 2012) [EXAM20180037]. Solomon characterized

    the statement that Hamzehpour reported to him as a “non-sequitur” and explained that the statement was
    “really more about whatever we need to do to get this done we need to get it done by the 10th.” Int. of W.
    Solomon, Mar. 19, 2013, at 99:22–101:20.
1380 Notes of P. West (Apr. 11, 2012), at EXAM00128221 [EXAM00128214]; see also E-mail from C. Dondzila

    to J. Whitlinger (Apr. 20, 2012) [EXAM11114890] (“[N]ow we are pushing to be able to file on the 30th,
    which may or may not be the real date.”).
1381 Int. of G. Lee, Feb. 20, 2013, at 203:11–204:23.

1382 Int. of J. Mack, Jan. 15, 2013, at 193:3–15.

1383 Minutes
          of a Special Meeting of the Board of Residential Capital, LLC, Apr. 12, 2012, at 1
    [EXAM00094875].
1384 ResCap had additional obligations maturing on May 14, 2012, including payments due to AFI under the

    A&R Secured Revolver Loan Agreement and A&R Line of Credit Agreement. See GMAC ResCap
    Executive Liquidity Report, dated Apr. 16, 2012 [ALLY_0194266].

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already executed a committed DIP facility term sheet with Barclays,1385 and had made
significant progress towards negotiating a stalking horse bid for the sale of its business.1386

     Although AFI may have indirectly affected ResCap’s timing considerations through its
willingness or unwillingness to provide additional capital support, the evidence does not
support the proposition that AFI controlled the timing of the bankruptcy filing. Indeed,
ResCap did not file the Chapter 11 Cases until May 14, 2012, which was after it had
conducted a marketing process, obtained stalking horse bids on its assets, secured DIP
financing, and reached settlements with certain creditor constituencies.

                   (4) ResCap Considers Potential Legal Claims Against AFI

      As discussions of a possible bankruptcy filing became more frequent in late 2011, the
ResCap Board determined that it would need to conduct a retrospective review of ResCap’s
relationships with certain affiliates and investigate potential legal claims in connection with
any “grant of releases of potential liability to the counterparties under” various related-party
transactions.1387

      Sometime around November 2011, Marano and his team began brainstorming on a
“range of possible claims” that ResCap may have against AFI.1388 According to Marano, the
senior management team—including Jim Whitlinger, Steve Abreu, Adam Glassner, and Cathy
Dondzila—spoke with Morrison & Foerster and was told that there was “an opportunity to
settle claims between ResCap and [AFI] and that [management] needed to come up with areas
for [counsel] to look into that could be a possible area where [AFI] might have done
something wrong.”1389

     With that directive, Marano stated that management, individually and occasionally
together, tried to come up with ideas of “what exactly we could get [AFI] for.”1390 As a result
of that process, management considered several areas worth further consideration, including
claims against AFI or Ally Bank related to loans originated or underwritten by Ally Bank, the
factoring agreement, representation and warranty risk, and the bank’s underwriting



1385 See Barclays DIP Financing Agreement, Summary of Indicative Terms and Conditions, dated Apr. 9, 2012

    [EXAM20122499].
1386 Transaction Discussion, dated Mar. 19, 2012, at 3 [EXAM00015730].

1387 Residential
               Capital, LLC Resolutions for Adoption by the Board of Directors, dated Dec. 5, 2011, at
    RC40020104 [RC40020073]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 5,
    2011, at RC40018719–21 [RC40018411].
1388 Int. of T. Marano, Nov. 26, 2012, at 168:24–169:14.

1389 Id. at 170:5–11; see also Int. of J. Whitlinger, Nov. 30, 2012, at 62:24–63:10 (noting he “had helped do a

    brainstorming session on potential claims to try and negotiate a settlement”).
1390 Int. of T. Marano, Nov. 26, 2012, at 170:12–15.



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practices.1391 When asked whether management came to believe any of these areas were good
grounds for seeking relief against AFI, Marano noted:

                  The problem with that is that we gave a bunch of possible areas
                  for Morrison & Foerster to look into. Then we formed an
                  independent committee of directors to take on responsibility for
                  that. They did the work.1392

                  (5) ResCap Appoints Additional Independent Directors And Establishes
                      Special Review Committee

     The ResCap Board recognized that, as it was constituted at the time, it could not settle
ResCap’s potential claims against AFI and other affiliates because the directors had
participated in many of the transactions that would be investigated.1393 Accordingly, ResCap
sought “to increase the size of the board to have a majority of independent directors” by
adding two additional independent directors.1394

     In November 2011, after an interview process,1395 Marano recommended the appointment
of Jonathan Ilany and John Mack.1396 The ResCap Board appointed Ilany and Mack members
of the ResCap Board effective November 16, 2011.1397 By hiring the new independent
directors, ResCap’s management could focus on securing DIP financing and stalking horse
bids—two matters which it deemed to be of higher priority than the negotiation of a settlement
with AFI1398—and “outsource[] or kind of create[] a separate committee to deal with the
1391 Id. at 170:20–171:4; see also Dep. of J. Whitlinger, Nov. 15, 2012, at 129:3–132:10.

1392 Int. of T. Marano, Nov. 26, 2012, at 171:12–20.

1393 See Int. of J. Ilany, Nov. 28, 2012, at 64:10–65:8; see also Int. of J. Tanenbaum, Mar. 29, 2013, at 171:1–21

    (“[F]rom a good corporate governance standpoint, one would not want any of the directors who participated
    in approving those interested transactions to approve the settlement, because they’d be approving their own
    work, in effect.”).
1394 Dep. of J. Mack, Nov. 14, 2012, at 30:8–15.

1395 Int.
        of J. Tanenbaum, Mar. 29, 2013, at 177:8–178:3; Minutes of a Special Meeting of the Board of
    Residential Capital, LLC, Nov. 4, 2011, at RC40018700 [RC40018411].
1396 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Nov. 16, 2011, at RC40018710

    [RC40018411]. Ilany was first contacted about the ResCap board position by James Tanenbaum of
    Morrison & Foerster. Int. of J. Ilany, Nov. 11, 2012, at 47:23–48:7. Ilany had met Tanenbaum when Ilany
    worked at Bear Stearns and Tanenbaum’s firm at the time was advisor to Bear Stearns. See id. at 49:14–
    51:15; see also Int. of J. Tanenbaum, Mar. 29, 2013, at 171:24–172:21. While at Bear Stearns, Ilany also
    worked with Marano, and for a period of time Marano reported directly to Ilany. Int. of J. Ilany, Nov. 11,
    2012, at 57:14–58:19. Tanenbaum met Mack when Mack worked at what is now Bank of America and also
    viewed Mack as extremely qualified to serve as an independent director. Int. of J. Tanenbaum, Mar. 29,
    2013, at 178:16–179:18.
1397 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Nov. 16, 2011, at RC40018710

    [RC40018411].
1398 See E-mail from T. Marano to Mackey (Feb. 19, 2012) [ALLY_0150256].



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9019” and the investigation of potential claims against AFI.1399 Even though it was not the
focus of ResCap’s management, the “[p]otential settlement of ResCap claims against [AFI]
under Rule 9019” was considered by ResCap to be a major element of the chapter 11 filing
process.1400

     Ilany understood that he was joining the ResCap Board as a “super independent” because
ResCap needed “a fresh set of eyes that was not involved with anything that happened” to
perform the retrospective review of ResCap transactions.1401 Likewise, Mack understood that
he and Ilany were “truly independent” in a way that the other independent directors—Edward
Smith and Pam West—were not, and that the Special Review Committee needed to be
“independent of the past” to properly investigate the Affiliate Transactions.1402

   Effective December 5, 2011, the ResCap Board established the Special Review
Committee, consisting of Ilany and Mack, for the purpose of:

                   [I]mplementing a process and procedure for the review and
                   assessment of (i) all material transactions entered into between
                   [ResCap] and any affiliate (other than [ResCap’s] subsidiaries)
                   of [ResCap], including [Cerberus, AFI] and any of their
                   respective affiliates (each, an “Affiliate Transaction”) that
                   occurred since the formation of [ResCap] in 2004 . . . , (ii) the
                   historic course of dealing and interrelationships between
                   [ResCap] and [AFI] and their respective subsidiaries and
                   affiliates over the same time period and (iii) potential claims
                   arising     in    relation     to   these    transactions    and
                   interrelationships . . . .1403


In addition to delegating full authority to the Special Review Committee to conduct its review
of Affiliate Transactions, interrelationships and potential legal claims, the ResCap Board
authorized the Special Review Committee to approve or recommend for approval “any
potential release of liability of any counterparty to any Affiliate Transactions that may be
considered by [ResCap].”1404

     Ilany understood that it was his and Mack’s mandate to review Affiliate Transactions and
“everything that was done” between ResCap and AFI and Cerberus to see if it was “done in a
1399 Dep. of T. Marano, Nov. 12, 2012, at 81:20–84:5.

1400 Joint Project Bounce Presentation by Centerview, FTI, and Morrison & Foerster, dated Dec. 15, 2011, at 10

    [RC00000121].
1401 Int. of J. Ilany, Nov. 28, 2012, at 18:1–13, 64:10–65:8.

1402 Int. of J. Mack, Dec. 5, 2012, at 77:13–20, 78:13–24, 138:21–140:14.

1403 Residential
               Capital, LLC Resolutions for Adoption by the Board of Directors, dated Dec. 5, 2011, at
    RC40020104 [RC40020073]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 5,
    2011, at RC40018719–20 [RC40018411].
1404 Id.



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commercial arm’s length transaction at market.”1405 If Affiliate Transactions were not done “in
market or in arm’s length transactions,” Ilany understood that it was his and Mack’s mandate
to negotiate with AFI a resolution of any claims arising out of those transactions.1406
According to Marano, as part of their review of the Affiliate Transactions, Ilany and Mack did
not seek out the thoughts or views of senior management to any great extent,1407 apparently
choosing to rely mainly on Morrison & Foerster’s analysis to understand the prior transactions
and any related claims.

     To perform its responsibilities, the Special Review Committee was authorized to engage
“financial and other experts and consultants, including legal counsel . . . at the expense of
[ResCap].”1408 Despite that authorization, Ilany and Mack continued to use Morrison &
Foerster and Morrison Cohen.1409 Ilany understood that he could hire professionals to help him
understand the transactions,1410 but he never considered hiring separate counsel, stating “our
belief was that these professionals were representing us versus another entity and they were
our lawyers and [Morrison Cohen] represent[s] the independent people of the board which is
including us and [Morrison & Foerster] represents the company and the board. We have not
seen any need to hire anybody else.”1411

                  (6) Morrison & Foerster Investigates Legal Claims On Behalf Of ResCap And
                      Special Review Committee

     The primary investigation into ResCap’s potential legal claims against AFI was
conducted by ResCap’s restructuring counsel Morrison & Foerster,1412 which was “asked by
ResCap to conduct a review of the related party transactions as well as the financial and
operational course of dealing between [AFI] and ResCap.”1413 Thus, the Special Review
Committee did not itself investigate potential legal claims against AFI, but rather was formed
“to consider [Morrison & Foerster’s] report on potential claims . . . [and] then determine next
steps.”1414 Indeed, Morrison & Foerster’s claims investigation was already underway when the
1405 Int. of J. Ilany, Nov. 28, 2012, at 106:14–108:7.

1406 Id. at 109:7–19 (“[I]f transactions were not done in market or in arm’s length transactions that there might be

    claims and my advisors will help me figure them out. This is what we were hired to do and if there are claims
    to negotiation with the parent.”)
1407 See Int. of T. Marano, Nov. 26, 2012, at 172:4–22.

1408 Minutes of a Special Meeting of the Board of Residential       Capital, LLC, Dec. 5, 2011, at RC40018722
    [RC40018411].
1409 See Int. of J. Ilany, Nov. 28, 2012, at 116:7–16.

1410 See id. at 116:7–11.

1411 Id. at 118:19–119:7.

1412 Materials for Discussion, dated Dec. 12, 2011, at 6 [RC00000114].

1413 Morrison
            & Foerster Report on the Independent Review Claims Analysis, dated Jan. 25, 2012, at 4
    [RC00023710].
1414 Materials for Discussion, dated Dec. 12, 2011, at 6 [RC00000114].



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two new independent directors were retained.1415 Morrison & Foerster “was the driving force
in the analysis of legal claims that were settled in the [AFI] settlement.”1416
      Morrison & Foerster’s decision that it could perform an “independent” review on the
“financial and operational course of dealing between [AFI] and ResCap”1417 is questionable in
light of the firm’s significant involvement in that very course of dealing during the preceding
years. From September 2008 through November 2011, Morrison & Foerster attended over 100
ResCap Board meetings, including meetings at which discussions occurred regarding Affiliate
Transactions subject to the Special Review Committee’s scrutiny, including the 2009 Bank
Transaction;1418 the First 2009 Tax Allocation Agreement;1419 the Initial Line of Credit
Facility;1420 and the ResMor Sale,1421 among others.1422 James Tanenbaum of Morrison &
Foerster explained that his firm frequently advised the ResCap Board on a variety of issues
relating to the Affiliate Transactions and corporate governance.1423
     Tanenbaum stated that he did not believe there was any conflict that should have
precluded Morrison & Foerster from conducting the investigation. In fact, he noted that
Morrison & Foerster was “exactly the right [firm] to do it. Because at that point, we had some
background with the company.”1424 Tanenbaum asserted that Mack’s and Ilany’s appointment
as Independent Directors to review the Affiliate Transactions was necessary because the other
ResCap Board members had voted on those transactions.1425 Tanenbaum acknowledged that
1415 See Int. of T. Hamzehpour, Oct. 5, 2012, at 233:10–20; Int. of J. Tanenbaum, Mar. 29, 2013, at 189:13–

    190:9.
1416 Dep. of M. Puntus, Nov. 5, 2012, at 28:3–6.

1417 Morrison
            & Foerster Report on the Independent Review Claims Analysis, dated Jan. 25, 2012, at 4
    [RC00023710].
1418 See,
        e.g., Minutes of a Special Meeting of the Board of Residential Capital, LLC, Sept. 19, 2008, at
    RC40005870–71 [RC40005652] (discussing potential transaction structures for 2009 Bank Transaction).
1419 See Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Aug. 6, 2010, at

    RC40018820–22 [RC40018729].
1420 See  Minutes of a Special Meeting of the Board of Residential Capital, LLC, Nov. 12, 2008, at 2
    [RC00017340] (during the meeting at which the ResCap Board approved an AFI support offer, including the
    Initial Line of Credit Facility, Tanenbaum of Morrison & Foerster “noted the importance of disclosing the
    deferral of [a ResCap bond interest payment due November 17, 2008] in the context of the overall support
    plan” and “discussed the potential impact that the delayed interest payment might have on the bond
    exchange”).
1421 See id.

1422 See Morrison & Foerster Report on the Independent Review Claims Analysis, dated Jan. 25, 2012, at 8

    [RC00023710].
1423 Int. of J. Tanenbaum, Mar. 29, 2013, at 217:6–22 ([Q:] “[D]id you have an understanding of whether MoFo

    had given any legal advice with respect to any of the transactions that were the subject of the special review
    committee’s work?” [A:] “I would’ve hoped that we would’ve given advice on process, board process and
    consideration of the issues. I think, during the course of our relationship, I would be very surprised if we did
    not give an advice on governance and process relating to these and other issues.”).
1424 Id. at 215:6–216:1.

1425 Id. at 218:6–25.



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Morrison & Foerster advised the ResCap Board on the Affiliate Transactions,1426 but did not
view that as creating the same conflict that voting on those transactions arguably created.1427

     The ability of Morrison & Foerster to review transactions on which it had previously
advised the ResCap Board should have been considered by Ilany and Mack, and, at a
minimum, also discussed with Morrison & Foerster. But Morrison & Foerster’s potential
conflicts did not cause Ilany or Mack any concern. Ilany explained that “the lawyers that have
conflicts tell you that they have conflicts. I’m not a lawyer.”1428 Mack also did not feel the
need to retain counsel that had not been involved in the Affiliate Transactions to be
scrutinized by the Special Review Committee.1429

     Notwithstanding the possible conflicts of interest, Morrison & Foerster conducted the
investigation. The stated objective of Morrison & Foerster’s investigation was “to identify and
analyze claims that may be made by ResCap against [AFI] in the context of an insolvency
proceeding.”1430 Gary Lee of Morrison & Foerster explained that Morrison & Foerster’s goal
was to create “the existential threat, the threat that would persuade somebody to write a very
1426 Id. at 217:6-22.

1427 Id. at 217:6–219:21. When asked why the logic that required the retention of Mack and Ilany did not apply to

    Morrison & Foerster, Tanenbaum replied:
          You’ve mixed up two things. They were tasked with this responsibility because they had not been
          involved in voting on those transactions. Voting. . . . In respect of the interested transactions, they
          didn’t sit on the board and had never exercised a vote. . . . Our view was that the best governance
          would entail having [Mack and Ilany] negotiate and ultimately, if possible, resolve those
          claims. However, I can’t—could not then and cannot now, think of anything associated with the
          work that MoFo had done up to that point which would not put them in the position of being able to
          conduct effectively—in fact, perhaps, most effectively—an analysis of claim and other issues that
          could be relevant to the settlement process.
    Id.
1428 Int. of J. Ilany, Nov. 28, 2012, at 120:19–21. Ilany understood that both Morrison & Foerster and Morrison

    Cohen had been advising ResCap and its independent directors, respectively, for several years, and that each
    had been involved in transactions to be reviewed by the Morrison & Foerster. See id. at 117:2–118:11,
    120:5–120:16 (explaining that he was not concerned by the use of potentially conflicted lawyers because
    “they are professionals. They are bound by duty to me and they are my advisors. They are going to do what is
    right for the company going forward and for the committee that I represent going forward. There is no limit
    to how many more you can hire.”).
1429 See Int. of J. Mack, Dec. 5, 2012, at 155:8–21 (Mack understood Morrison & Foerster, Morrison Cohen, FTI,

    and Centerview to be the advisors for the Special Review Committee, noting “I felt very good about the
    advisors we had, the advice we got, the professionalism. I didn’t feel a need to have more advisors. I thought
    we were well advised, completely advised, thoroughly advised, appropriately advised.”).
1430 Morrison & Foerster Report on the Independent Review Claims Analysis, dated Jan. 25, 2012, at 4
    [RC00023710]. Morrison & Foerster did not investigate potential claims against Cerberus despite the Special
    Review Committee’s authorization to do so. Tanenbaum explained that an investigation of claims against
    Cerberus was not necessary because Cerberus would not be a released party under any Plan. See Int. of J.
    Tanenbaum, Mar. 29, 2013, at 190:14–191:3, 209:8–214:10 (“To the extent that ResCap had then claims
    against Cerberus, it would have those claims now. . . . Cerberus was not going to be a party to the
    [settlement] . . . . Everybody knew that. There would’ve been no basis for them to become a party.”).

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big check.”1431 To that end, Morrison & Foerster sought to develop three basic types of claims
ResCap could assert against AFI: (1) single entity type claims, including substantive
consolidation, pooling of the assets of the entities, alter ego, and veil piercing claims;1432
(2) bankruptcy claims, including equitable subordination, recharacterization of debt as equity,
and constructive or actual fraudulent conveyance;1433 and (3) contribution claims arising as a
result of ResCap’s liability to third parties.1434

     As part of its investigation, Morrison & Foerster reviewed ResCap Board meeting minutes
and other materials dating from mid-2007, the ResCap LLC Agreement and the ResCap 2006
Amended Operating Agreement, certain AFI Board meeting minutes and other materials,
relevant agreements and materials relating to certain Affiliate Transactions, fairness opinions
and legal opinions addressed to ResCap, and SEC filings for ResCap and AFI.1435 In addition,
Morrison & Foerster conducted interviews of several current or former ResCap and AFI
employees, including, among others: (1) Tom Marano;1436 (2) Lisa Gess;1437 (3) Tammy
Hamzehpour;1438 (4) Joe Pensabene;1439 (5) Cathy Dondzila;1440 and (6) Steve Abreu.1441

     In the course of its investigation, Morrison & Foerster did not review any
contemporaneous e-mails and did not have access to any AFI files other than certain AFI
Board materials.1442 When asked if there was anything on his “wish list of what [Morrison &




1431 Int. of G. Lee, Feb. 20, 2013, at 125:7–20.

1432 See
       Morrison & Foerster Report on the Independent Review Claims Analysis, dated Jan. 25, 2012, at
    RC00023725–27 [RC00023710].
1433 Id. at RC00023725, –28–32.

1434 Id. at RC00023725, –33.

1435 Id. at RC00023720–21.

1436 Int. of T. Marano, Nov. 26, 2012, at 168:24–169:8, 172:13–173:3; see also Int. of S. Abreu, Jan. 22, 2013, at

    55:2–20.
1437 Int. of L. Gess, Nov. 30, 2012, at 13:16–14:1.

1438 Int. of T. Hamzehpour, Oct. 5, 2012, at 113:5–7.

1439 Int. of J. Pensabene, Jan. 9, 2013, at 121:17.

1440 Int. of C. Dondzila, Sept. 27, 2012, at 176:11–24.

1441 Int. of S. Abreu, Jan. 22, 2013, at 55:2–20.

1442 Meetingwith Morrison & Foerster, Counsel to the Debtors, in N.Y., N.Y. (July 20, 2012); see also
    Morrison & Foerster Report on the Independent Review Claims Analysis, dated Jan. 25, 2012, at
    RC00023720–21 [RC00023710].

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Foerster] might have had access to,” Mack stated, “I would’ve loved to have had access to
[AFI] e-mails. I would love to be able to interview anybody at [AFI].... [B]ut, we didn’t have
the power.”1443 Mack added that he never specifically asked Morrison & Foerster whether they
should have asked AFI for access to additional information.1444
      As noted above, Morrison & Foerster began meeting with ResCap officers to investigate
possible claims before the Special Review Committee was formed.1445 Morrison & Foerster
initially “anticipate[d] completing its review” of potential claims “and discussing its
conclusions with the Special Review Committee before the end of December 2011.”1446
Ultimately, the results of the investigation were presented to the ResCap Board on January 25,
2012.1447
                        (a) Morrison & Foerster Presentation Of Claims Analysis To ResCap
                            Board
      On January 25, 2012, at a special meeting of the ResCap Board, Morrison & Foerster
presented “the initial results of their independent review of historical transactions between
ResCap and [AFI], its predecessors and affiliates, including Cerberus entities” and “their
initial analysis of potential claims that could be made against [AFI] in a potential Rule 9019
settlement discussion with [AFI] . . . .”1448
      Mack stated that his overall conclusion from Morrison & Foerster’s report was that there
were no “smoking guns, but that an aggregate taken as a holistic view, we thought we had a
case, but not any specific transaction or specific legal claim here could be or would be
successful.”1449 Mack explained that the presentation was “designed to be . . . one-sided in a
way” that was “favorable to ResCap, not favorable to [AFI],” but that the ResCap Board and
its advisors engaged in “full and thorough discussion” on the claims analysis.1450 According to
Smith, Morrison & Foerster noted that potential claims against AFI “could be as much as
$12 billion.”1451
1443 Int. of J. Mack, Jan. 15, 2013, at 109:17–24; see also Int. of J. Tanenbaum, Mar. 29, 2013, at 196:4–17 (“The

    one external factor that shaped timing is that ResCap didn’t have subpoena power as [the Examiner has]. So
    there are many things that we probably would’ve liked to have looked at that we really didn’t have occasion
    to do.”).
1444 Int. of J. Mack, Jan. 15, 2013, at 109:25–110:6.

1445 See id. at 108:13–16 (“I understand that MoFo had begun the investigation prior to our joining the board.

    And so, that must’ve come from somebody, but I don’t know who.”).
1446 Materials for Discussion, dated Dec. 12, 2011, at 6 [RC00000114].

1447 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 25, 2012, at RC40019194

    [RC40019179].
1448 Id. The minutes suggest that Morrison & Foerster presented the “initial results” of its investigation, but no

    subsequent presentation on the results of Morrison & Foerster’s claims investigation was ever provided to the
    Special Review Committee. See Int. of J. Mack, Jan. 15, 2013, at 85:17–87:1, 144:15–145:2.
1449 Int. of J. Mack, Jan. 15, 2013, at 105:1–23.

1450 Id. at 152:1–8.

1451 Int. of E. Smith, Nov. 30, 2012, at 199:8–203:1.



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      Specifically, the Morrison & Foerster presentation observes, among other things, that “a
strong argument can be made that the course of conduct [between AFI and ResCap] changed
following the restructuring events in 2008.”1452 The presentation explains that, in connection
with the review of the relationship between AFI and ResCap, it is “highly relevant . . . whether
and when ResCap was undercapitalized and/or in the ‘zone of insolvency’”1453 and “ResCap
may have been in the ‘zone of insolvency’ from 2008 onward.”1454 When asked about those
points, Mack stated unequivocally that ResCap was “never insolvent” but that he had not
reached a conclusion as to whether ResCap was ever in the “zone of insolvency” because
“that’s kind of a vague concept.”1455 Notwithstanding Morrison & Foerster’s advice that
solvency was “highly relevant,”1456 when asked for his “understanding of how the zone of
insolvency analysis figured into [his] review of the potential claims,”1457 Mack stated, “I don’t
know that it affects my view of the individual claims. It affects the way you run the company,
but it doesn’t affect my view of the individual claims.”1458

     In addition, the Morrison & Foerster presentation noted that it is arguable that ResCap
and AFI acted “as a single, integrated operation in certain respects” during “the post-TARP
period.”1459 When Mack was asked what the relevance was to the claims analysis of “whether
ResCap and [AFI] had acted as a single, integrated operation,” he stated “[j]ust trying to make
sure we understood the way the company was run. . . . I don’t recall anything about whether it
had any impact on my assessment of the claims.”1460

      Morrison & Foerster’s presentation did not review claims relating to AFI’s potential
liability directly to third parties, nor did it analyze breach of fiduciary duty claims against
ResCap’s directors and officers that could have given rise to claims against AFI for aiding and
abetting breach of fiduciary duty.1461
1452 Morrison
            & Foerster Report on the Independent Review Claims Analysis, dated Jan. 25, 2012, at
    RC00023773 [RC00023710].
1453 Id. at RC00023774.

1454 Id. at RC00023756.

1455 See Int. of J. Mack, Jan. 15, 2013, at 135:23–136:25, 148:5–150:16; see also Dep. of T. Hamzehpour,
    Nov. 13, 2012, at 103:10–104:6 (asserting she did not consider ResCap to be insolvent until the bankruptcy
    filing).
1456 Morrison
            & Foerster Report on the Independent Review Claims Analysis, dated Jan. 25, 2012, at
    RC00023774 [RC00023710].
1457 Int. of J. Mack, Jan. 15, 2013, at 137:17–20.

1458 Id. at 137:21–138:24.

1459 Morrison
            & Foerster Report on the Independent Review Claims Analysis, dated Jan. 25, 2012, at
    RC00023774 [RC00023710].
1460 Int. of J. Mack, Jan. 15, 2013, at 140:17–141:15.

1461 Morrison   & Foerster Report on the Independent Review Claims Analysis, dated Jan. 25, 2012
    [RC00023710]. Gary Lee of Morrison & Foerster asserted that the firm considered Third-Party Claims in its
    investigation, see Int. of G. Lee, Feb. 20, 2013, at 59:12–60:21, 222:14–223:1, but Lee could not recall
    whether Morrison & Foerster had investigated breach of fiduciary duty claims. See id. at 219:1–9.

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                        (b) Morrison & Foerster Presentation Of Claims Analysis To Kirkland &
                            Ellis

     After the January 25, 2012 presentation, either the ResCap Board or the Special Review
Committee directed Morrison & Foerster to meet with AFI’s counsel Kirkland & Ellis to
present the results of Morrison & Foerster’s claims investigation.1462 That meeting took place
on February 14, 2012.1463 It appears that the presentation Morrison & Foerster gave to
Kirkland & Ellis was not shared with the members of the ResCap Board.1464

     There are certain differences between the two Morrison & Foerster presentations.
Notably, the February 14 presentation to Kirkland & Ellis noted that “FTI analyzed whether
ResCap was insolvent at various times and concluded that ResCap may have been insolvent as
early as 2006” and, under certain measures, “ResCap has been insolvent during the entire
period [from 2006 through 2011.]”1465 In contrast, Morrison & Foerster’s strongest statement
on ResCap’s solvency in the January 25 presentation was that “ResCap may have been in the
‘zone of insolvency’ from 2008 onward.”1466 In addition, whereas the January 25 presentation
did not address potential damages, the February 14 presentation asserted that AFI’s control
over ResCap had resulted in a $7.6 billion diminution of ResCap’s estimated enterprise value
and that the market value of ResCap’s equity had declined by $12 billion.1467

    2. AFI’s Consideration Of Strategic Restructuring Scenarios

                a. AFI’s Strategic Cost-Benefit Analysis Regarding Mortgage Business

     While ResCap was considering its options, AFI was undertaking similar analyses to
evaluate strategic scenarios for ResCap and to understand its own contingent liability
exposure. By June 2011, Jeff Brown, AFI’s Senior Executive Vice President of Finance and
Corporate Planning, viewed the mortgage business as “a weight” and doubted whether a
scenario existed in which AFI could be released from all contingent liabilities.1468 By
August 19, 2011, James Mackey, CFO of AFI, believed that representation and warranty
claims against ResCap and/or AFI were inevitable and would be an “avalanche.”1469
1462 Int. of J. Mack, Jan. 15, 2013, at 86:1–14.

1463 Id. at 156:1–5.

1464 Id. at 155:19–21, 159:13–22.

1465 Morrison & Foerster ResCap Claims Presentation, dated Feb. 14, 2012, at RC00028281–83 [RC00028255].

    The Examiner’s Financial Advisors reviewed the calculations underlying FTI’s February 14, 2012 solvency
    analysis and concluded that FTI’s conclusions were not credible. For the Examiner’s full analysis of
    ResCap’s financial condition, see Section VI.
1466 Morrison
            & Foerster Report on the Independent Review Claims Analysis, dated Jan. 25, 2012, at
    RC00023756 [RC00023710].
1467 Morrison & Foerster ResCap Claims Presentation, dated Feb. 14, 2012, at 48–51 [RC00028255].

1468 See E-mail from J. Brown to M. Carpenter (June 29, 2011) [ALLY_0225116].

1469 See E-mail from J. Mackey (Aug. 19, 2011) [ALLY_0169890].



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     On September 16, 2011, Brown e-mailed Carpenter and recommended that AFI and
ResCap “[s]top origination immediately” and “[a]nnounce we are exiting future mortgage
business.”1470 Although Brown noted that bankruptcy would give AFI the “best protection,” he
viewed it as “unrealistic and unpalatable by [the U.S. Treasury].”1471 He proposed instead to
stop the business and stockpile cash to provide “a much longer runway of life” that could
“support contingent liability claims.”1472 In response, Carpenter noted that, “as we know from
[2010], the business has some value aside from contingent liabilities.”1473 He asked, “[s]hould
we forego that?”1474
     On September 23, 2011, the AFI Board held a special meeting for the purpose of
“review[ing] strategic alternatives for [ResCap] and the impact on [AFI], in light of private
label securitization and related litigation pending against ResCap and [AFI] and other entities
in the organization to inform the Board’s on-going deliberations pertaining to the mortgage
operations.”1475 In connection with preparing the presentation for that AFI Board meeting,
Brown queried whether they should “add some drama,” and noted that “[m]ortgage has in
many ways become a cancer for [AFI]” and “[a]ction is needed to take some of the cloud
away from [AFI].”1476
      The materials that were presented to the AFI Board on September 23, 2011 did not
contain such dramatic statements. Instead, the presentation analyzed ResCap’s obligations,
ResCap’s existing and potential litigation exposure, and AFI’s potential exposure to ResCap-
related liabilities.1477 The analyses regarding AFI’s exposure were then applied to the
following “potential business scenarios”: (1) status quo; (2) bankruptcy; (3) spin; and (4)
sale.1478
     On October 6, 2011, the AFI Board met and discussed the “merits and potential
consequences of remaining in or exiting all or a portion of the mortgage business.”1479 At the
meeting, members of the AFI Board “reviewed and discussed at length a presentation prepared
by management that provided a detailed assessment of the potential strategic alternatives and
contingencies for [AFI]’s mortgage operations . . . .”1480 The presentation included, among
1470 E-mail from J. Brown to M. Carpenter (Sept. 16, 2011) [ALLY_0170751].

1471 Id.

1472 Id.

1473 E-mail from M. Carpenter to J. Brown (Sept. 16, 2011) [ALLY_0170751].

1474 Id.

1475 Minutes of a Special Meeting of the Board of Directors of Ally Financial Inc., Sept. 23, 2011, at
    ALLY_0115749–50 [ALLY_0115565]. Marano and Mackey participated in the AFI Board discussion
    regarding mortgage strategic alternatives and responded to various questions from AFI Board members.
1476 E-mail from J. Brown (Sept. 21, 2011) [ALLY_0237702].

1477 AFI Board Presentation, dated Sept. 23, 2011 [ALLY_0157602].

1478 Id. at 20.

1479 Minutes
          of a Regular Meeting of the Board of Directors of Ally Financial Inc., Oct. 6, 2011, at
    ALLY_0115762 [ALLY_0115565].
1480 Id. at ALLY_0115761.



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other things, detailed analyses regarding “each of the strategic alternatives evaluated, and
management’s observations as to these matters.”1481 AFI’s priorities at the time included
maximizing the consolidated equity value of AFI and insulating AFI from escalating mortgage
issues.1482

     AFI engaged Evercore on October 15, 2011 to analyze strategic alternatives in
connection with AFI’s mortgage business, including developing a ResCap bankruptcy plan
and analyzing potential sale scenarios.1483 The AFI Board referred to its evaluation of strategic
alternatives for ResCap as “Project Rodeo.”1484

     In December 2011, AFI and its advisors began to focus on preparations for a ResCap
bankruptcy case, including the “two important objectives” of obtaining “court approval of
claims settlement under 9019” and “completion of a 363 sale of the servicing platform.”1485 As
of December 16, 2011, Evercore assigned “low probability” to either a sale or spin-off
transaction outcome for ResCap.1486 Corey Pinkston, Head of Corporate Debt and Equity at
AFI, was working with Evercore in considering strategic alternatives,1487 and noted that AFI
did not see any other viable options for ResCap to avoid bankruptcy, stating:

                  [I]t was not like there was another silver bullet out there with
                  respect of, okay, what potentially—the problem is, at that point
                  in time, is you’re dealing with this litigation that you don’t have
                  a definition around what is it? How do you box it, right? . . . [I]f
                  you’re looking at the portfolio of assets or your balance sheet,
                  you’re trying to figure out how many losses can you take in
                  something? You think recovery of prices, et cetera, you know,
                  this is a litigation issue out there. Nobody could really frame up
                  what does it really mean, how legitimate is it . . . . [Y]ou’re not
                  solving for an ability to say, “Well, let me model up specifically
                  what the number’s going to be,” when you’ve got this building.


1481 Id.;
       see also Mortgage/ResCap Strategic Alternatives Discussion: Critical Issues, dated Oct. 6, 2011
    [ALLY_0400275].
1482 See  Mortgage / ResCap Strategic Alternatives Discussion: Critical Issues, dated Oct. 6, 2011, at 2
    [ALLY_0400275]. At the October 6, 2011 meeting, the AFI Board also discussed “hypothetical scenarios
    illustrative of potential legal claims against [AFI] and [ResCap],” and engaged in discussion with Solomon
    regarding “the legal risk analysis of mortgage servicing matters.” Minutes of a Regular Meeting of the Board
    of Directors of Ally Financial Inc., Oct. 6, 2011, at ALLY_0115762–63 [ALLY_0115565].
1483 See Evercore Engagement Letter, dated Oct. 15, 2011, at 1 [ALLY_0142108]; E-mail from D. Ying (Dec. 12,

    2011) [ALLY_0380152].
1484 See, e.g., E-mail from D. Schaeffer (Sept. 20, 2011) [EXAM20192690].

1485 E-mail from E. Mestre to M. Carpenter (Dec. 16, 2011) [ALLY_0142418].

1486 Id.

1487 Int. of C. Pinkston, Nov. 8, 2012, at 81:8–16.



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                  So, at a certain point in time, I think the folks realized that the
                  whole idea of a spinoff or whatever those issues are, I mean, you
                  just don’t—you don’t have a number that you can confidently
                  say I think kind of solves this issue. Or, you can call somebody
                  up and settle it or something like that, or if you’re willing to
                  try.1488

      AFI recognized that there were significant challenges inherent in divorcing itself from the
mortgage business, especially with respect to the “operational entanglement of [Ally] Bank
and ResCap.”1489 As of December 13, 2011, AFI’s business and financial goals in connection
with a ResCap chapter 11 filing included, among other things, minimizing “guarantees,
obligations, or unsecured exposures that would be injurious to [AFI] upon a ResCap filing,”
and maximizing the value of AFI’s claims.1490 AFI’s legal goals included continuing AFI’s
“separation from current and potential litigation of ResCap claimants,” implementing a
settlement of any alleged claims against AFI held by the ResCap estate, and using the chapter
11 process “as a possible consolidated forum to address certain 3rd party litigation claims
against [AFI].”1491 On December 26, 2011, Carpenter informed the AFI Board that “[g]ood
progress [was] being made on unscrambling the complex relationships between AFI, Ally
Bank and Rescap/GMAC Mortgage. . . . This is consistent with Rescap’s 363 plan also.”1492

     Over the following months, the AFI Board discussed strategic options for ResCap and the
mortgage business or preparations for a ResCap bankruptcy on many occasions.1493 Ultimately,
AFI made an official determination to cease its support for ResCap and allow ResCap to file for
bankruptcy. Brown’s view that AFI was better off exiting the mortgage business remained
consistent when he discussed the decision retrospectively. He wrote, “ResCap was maintained
separately . . . [which] has afforded [AFI] options to deal with the pig. . . . [M]assive financing




1488 Id. at 81:17–82:21.

1489 See E-mail from B. Yastine to M. Carpenter (Dec. 1, 2011) [ALLY_0304495]; see also Int. of M. Carpenter,

    Mar. 4, 2013, at 240:2–241:25 (discussing the “challenges of separating ResCap from Ally Bank”).
1490 Evercore, Kirkland & Ellis, and Mayer Brown Project Rodeo Discussion Materials, dated Dec. 13, 2011, at 4

    [CCM00336243].
1491 Id.

1492 E-mail from M. Carpenter (Dec. 26, 2011) [ALLY_0142356].

1493 See, e.g., Minutes of a Regular Meeting of the Board of Directors of Ally Financial Inc., Dec. 20, 2011, at

    ALLY_0115830 [ALLY_0115565]; Minutes of a Regular Meeting of the Board of Directors of Ally
    Financial Inc., Feb. 1, 2012, at ALLY_PEO_0020498 [ALLY_PEO_0020479] (discussion of ResCap
    strategic alternatives lasted approximately three and a half hours); Minutes of a Special Meeting of the Board
    of Directors of Ally Financial Inc., Mar. 14, 2012, at ALLY_PEO_0020540–41 [ALLY_PEO_0020479];
    Minutes of a Regular Meeting of the Board of Directors of Ally Financial Inc., Apr. 4, 2012, at
    ALLY_PEO_0020548 [ALLY_PEO_0020479].

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needs over coming years, regulatory mess, contingent clouds . . . all these things mean you
must dump it.”1494 Carpenter outlined AFI’s ResCap strategy as follows:

                1. Rescap is a wholely [sic] owned sub of [AFI] but has always
                operated as a separate company (own BoD, own 10k etc).
                Therefore, and because of its separateness [AFI] can make
                decisions about [its] investment in the subsidiary.

                2. Rescap and the mortgage business have struggled for years
                and [AFI] has supported the company through its difficulties.

                3. However, three reasons for [AFI] not wishing to continue to
                invest are

                —the mortgage servicing business has become marginally
                profitable as a result of industry changes including substantial
                additional costs driven by new government rules and regulations
                (without the ability to recover through pricing)

                —approx 3 billion of Rescap bonds become due in the next
                several years and these cannot be refinanced in the capital
                markets

                —large contingent liabilities from governmental and unjustified
                suits and potential suits create an additional drain on the
                company.

                4. For [AFI] to continue to support Rescap is hugely detrimental
                to our key objective of repaying the American taxpayer.
                Continuing to support Rescap will require billions of taxpayer
                capital [to] be invested in this unattractive business. In addition,
                it will raise [AFI]’s cost of funding in support of its principal
                objective, supporting the US auto industry. Further, it will
                preclude an IPO and other options for repaying the US taxpayer.

                5. Several alternatives were examined to separate Rescap from
                [AFI], including sale, but bankruptcy was by far the best
                alternative.1495




1494 See E-mail from J. Brown to J. Mackey and M. Carpenter (Apr. 13, 2012) [ALLY_0334715].

1495 See E-mail from M. Carpenter (Apr. 15, 2012) [ALLY_0381153]; see also E-mail from M. Carpenter (Jan.

   20, 2012) [EXAM00010735] (outlining similar “themes” with respect to AFI’s decision to cease its support
   for ResCap).

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             b. Investigation Of Legal Claims By Kirkland & Ellis On Behalf Of AFI

      Whereas ResCap’s counsel began its investigation of legal claims in late 2011, AFI’s
counsel, Kirkland & Ellis, began investigating AFI’s potential exposure to ResCap-related
liabilities in 2008.1496 Kirkland & Ellis interviewed AFI executives in fall 2008 and September
2011, reviewed SEC filings and certain transaction documents, and analyzed relevant law.1497
However, Kirkland & Ellis counsel did not speak with ResCap employees, former AFI
employees, or third parties, and did not review e-mails.1498

     In a presentation given to the AFI Board on September 23, 2011, during which both
Carpenter and Tessler were present,1499 Kirkland & Ellis analyzed, among other things,
(1) whether AFI could be held directly liable for litigation-related liabilities associated with
the activities of ResCap;1500 and (2) whether AFI could be indirectly liable for ResCap’s
obligations (under theories such as indemnity or veil piercing).1501 Kirkland & Ellis also
provided the AFI Board with analysis of AFI’s potential litigation exposure to claims that
could be brought by ResCap against AFI relating to intercompany transactions between AFI
and ResCap, including capital contributions, loans, and asset or equity purchases.1502

             c. Berkshire Hathaway Alternative Restructuring Proposal

     On April 16, 2012, Carpenter met with Warren Buffett and Ted Weschler of Berkshire
Hathaway.1503 Following the meeting, Carpenter e-mailed Marano and informed him that
Berkshire Hathaway was “unconcerned” regarding its position in the Junior Secured Notes,
but “concerned” regarding its position in the Unsecured Notes.1504 Carpenter explained that
Berkshire Hathaway’s representatives “[s]eemed surprised at likely donut [for Unsecured
Noteholders] and status versus PLS,” which led to a discussion of “numerous alternatives
including no [bankruptcy].”1505
1496 See AFI Board Presentation Appendix, dated Sept. 23, 2011, at 50 [ALLY_0157478] (noting “work done” by

    Kirkland & Ellis began in Fall 2008); Int. of G. Lee, Feb. 20, 2013, at 29:9–24 (noting Morrison & Foerster
    did not analyze ResCap’s potential claims against AFI in connection with bankruptcy planning in 2009).
1497 AFI Board Presentation Appendix, dated Sept. 23, 2011, at 50 [ALLY_0157478].

1498 Id.

1499 See
       Minutes of a Special Meeting of the Board of Directors of Ally Financial Inc., Sept. 23, 2011, at
    ALLY_0115749 [ALLY_0115565]
1500 AFI Board Presentation Appendix, dated Sept. 23, 2011, at 17 [ALLY_0157602].

1501 Id. at 19; see also AFI Board Presentation Appendix, dated Sept. 23, 2011, at 100–105 [ALLY_0157478].

1502 AFI Board Presentation Appendix, dated Sept. 23, 2011, at 73–99 [ALLY_0157478].

1503 See E-mail from M. Carpenter (Apr. 16, 2012) [ALLY_PEO_0028897]; E-mail from D. Schaeffer (Apr. 19,

    2012) [RC40052879] (“AFI CEO met with Berkshire Hathaway CEO Monday 4/16”).
1504 E-mail from M. Carpenter to T. Marano (Apr. 16, 2012) [EXAM00010583].

1505 Id.



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     That same day, Weschler sent Carpenter an e-mail stating that the “one big takeaway”
that he and Buffett had from the meeting was that “we weren’t convinced that a bankruptcy of
ResCap actually betters [AFI]’s situation . . . conceptually we have a hard time seeing how
[AFI] is any cleaner with an ongoing bankruptcy of a major sub vs the status quo or selling the
entity for minimal consideration to a third party that would essentially operate the business in
run off . . . .”1506 Carpenter forwarded Weschler’s e-mail to Tessler, who remarked, “[i]n the
absence of a 9019 or 3rd party releases he is right regarding ‘better off’. However, the other
question he should be asking given the volume of already pending litigation . . . how is [AFI]
worse off by trying?”1507

     On April 18, 2012, Carpenter and Marano discussed Buffett’s “thoughts about avoiding a
[bankruptcy].”1508 On April 19, 2012, Marano sent an e-mail noting that Buffett may not “get
the most informed analysis from Evercore,” and suggested that the ResCap Board consider
providing Berkshire Hathaway “access to the data room and our advisors since they are more
up to speed [than Evercore].”1509

     On April 23, 2012, Carpenter e-mailed to Weschler a presentation prepared by Evercore
responding to Berkshire Hathaway’s request for AFI’s “analysis of certain non-chapter 11
options to restructure ResCap.”1510 The presentation included two scenarios: (1) Platform Sale
scenario to an investor; and (2) a ResCap standalone scenario.1511 The Platform Sale was
assumed to be contemporaneous with the sale of ResCap’s platform assets and certain other
assets to Fortress.1512 Under the ResCap standalone scenario, upon a sale of ResCap to an
investor, ResCap was assumed to operate in the ordinary course without support from AFI.1513
Under both scenarios, AFI provided a forecast with no cash contribution to ResCap and
another forecast with a $1 billion cash contribution.1514 Additional common assumptions
included: releases of AFI by ResCap creditors; ResCap litigation addressed in the ordinary
course; a “creditworthy indemnity” to AFI from the investor; ResCap solvency on cash flow,
adequate capital, and balance sheet basis; and consummation of the transaction outside of
bankruptcy court.1515
1506 E-mail from T. Weschler (Apr. 16, 2012) [ALLY_PEO_0028897].

1507 E-mail from L. Tessler (Apr. 16, 2012) [ALLY_PEO_0028897].

1508 E-mail from T. Marano (Apr. 19, 2012) [EXAM00004077].

1509 Id.

1510 See Evercore, Kirkland & Ellis, and Mayer Brown Project Rodeo Discussion Materials, dated Apr. 23, 2012,

    at 2 [CCM00200924]; E-mail from M. Carpenter to T. Weschler (Apr. 23, 2012) [ALLY_0142583].
1511 Evercore, Kirkland & Ellis, and Mayer Brown Project Rodeo Discussion Materials, dated Apr. 23, 2012, at 2

    [CCM00200924].
1512 Id.

1513 Id.

1514 Id.

1515 Id.



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     Under the Platform Sale scenario, the proceeds received from the Platform Sale and Legacy
Sale to Fortress (assuming a $3.976 billion purchase price)1516 would be used to pay down first
lien debt and any excess proceeds would be left on the balance sheet.1517 The remaining assets
and liabilities would be run off at ResCap with the debt being repaid as it would come due.1518
The Platform Sale scenario resulted in cash as of December 2015 of $439 million with AFI
support, and negative $561 million without AFI support, as shown in Exhibit III.J.2.c—1
below.1519




     Transaction considerations and potential obstacles under the Platform Sale scenario were
noted to include, among other things:

           •     Fortress, the AFI Board, and AFI would require an opinion that the remaining ResCap
                 was solvent;1520

           •     Bondholders would potentially have to waive the “all or substantially all” covenant
                 (50% vote) for the sale of assets to Fortress; and1521

           •     AFI would face substantial risk that the transaction itself would serve as a catalyst for
                 further litigation against AFI.1522




1516 Id. at 7.

1517 Id. at 6.

1518 Id.

1519 Id. at 8, 11.

1520 Id. at 13.

1521 Id.

1522 Id.



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     The ResCap standalone scenario anticipated that ResCap would continue retail
origination operations and execute a subservicing agreement with Ally Bank on a fee-for-
service basis.1523 ResCap would extend certain facilities against the HFS Portfolio and
Servicing Advances at current effective advance rates, and debt would be repaid as it came
due.1524 The ResCap standalone scenario resulted in an ending cash balance at December 2015
of $1.021 billion with a $1 billion cash contribution from AFI, and $21 million without the
AFI contribution, as shown in Exhibit III.J.2.c—2 below.1525




    Transaction considerations and potential obstacles under the ResCap standalone scenario
were noted to include, among other things:

           •   ResCap and the AFI Board would likely require a solvency opinion;1526

           •   ResCap would likely not be able to replicate the funding that was being provided by
               AFI;1527 and

           •   ResCap would need to demonstrate its ability to meet the GSE net worth
               covenant.1528




1523 Id. at 16.

1524 Id.

1525 Id. at 17–19.

1526 Id. at 21.

1527 Id.

1528 Id.



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     Exhibit III.J.2.c—3 below compares the Platform Sale scenario and ResCap standalone
scenario presented to Berkshire Hathaway on April 23, 2012.




     Although AFI and Berkshire Hathaway were engaged in discussions regarding a potential
out-of-court restructuring, AFI and ResCap also sought Berkshire Hathaway’s support for the
Chapter 11 Cases.1529 On April 29, 2012, Carpenter sent an e-mail to Weschler explaining that
the proposed mechanics of AFI’s settlement contributions strengthened the position of the Junior
Secured Noteholders and provided benefit to Unsecured Noteholders.1530 According to
Carpenter, as shown in Exhibit III.J.2.c—4 below, over 50% of the amount of AFI’s settlement
contribution that was allocated to ResCap LLC was estimated to go to Berkshire Hathaway.1531




1529 Evercore, Kirkland & Ellis, and Mayer Brown Project Rodeo Discussion Materials, dated Apr. 23, 2012, at 9–10

    [CCM00335615].
1530 E-mail from M. Carpenter to T. Weschler (Apr. 29, 2012) [ALLY_0142587].

1531 Id;
       Evercore, Kirkland & Ellis, and Mayer Brown Project Rodeo Potential Ally Settlement Allocation
    Mechanics, dated Apr. 29, 2012, at 1 [ALLY_0142588].

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     Berkshire Hathaway continued to view a potential non-bankruptcy solution as superior to a
ResCap bankruptcy filing.1532 On April 30, 2012, in response to Berkshire Hathaway’s request,
Evercore prepared a presentation that analyzed a potential sale of ResCap to Berkshire Hathaway
for a nominal amount.1533 The scenario had two key assumptions: (1) Berkshire Hathaway would
purchase ResCap stock for $1; and (2) AFI would not make any contribution to ResCap.1534 In
that scenario, ResCap would operate in the ordinary course based on Centerview’s projections
and the following assumptions:

           •   ResCap would continue retention and retail originations, with the ability to retain the
               related MSR without compensation to Ally Bank;1535

           •   ResCap would implement a subservicing agreement in connection with Ally Bank’s
               MSRs and its HFS Portfolio on a fee-for-service basis;1536

           •   ResCap would refinance senior debt secured by the HFS Portfolio and Servicing
               Advances and obtain a warehouse line at current effective advance rates
               (LIBOR+300);1537 and
1532 E-mail
          from T. Weschler and M. Carpenter (Apr. 30, 2012) [CCM00652529] (“As I waded through the
    documents this weekend, and compared notes with Warren [Buffett], we continue to be of a view that filing of
    ResCap will create much more harm than good to many key stakeholders of both ResCap and [AFI].”).
1533 Evercore, Kirkland & Ellis, and Mayer Brown Project Rodeo Discussion Materials, dated Apr. 30, 2012, at 1

    [CCM00048209].
1534 Id.

1535 Id.

1536 Id.

1537 Id.



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           •     ResCap would repay the Junior Secured Notes and Unsecured Notes as they came
                 due.1538

     The forecast for the Berkshire Hathaway potential sale scenario showed a negative equity
position from 2012 through 2015, ranging from approximately $3.5 billion in 2012 to
$2.9 billion in 2015.1539 The GSE minimum net worth covenant was $250 million.1540 AFI’s
advisors indicated that a sizeable cash contribution would likely have been required in order for
ResCap to be considered a solvent and adequately capitalized standalone entity without
Berkshire Hathaway providing a make-well guarantee of ResCap.1541 Evercore, using
Centerview’s assumptions, prepared an analysis indicating that a $6.5 billion contribution would
have been needed on day one assuming a 20% ratio of equity to assets.1542

     Carpenter sent Evercore’s analysis to Weschler on May 1, 2012 and noted that “the
magnitude of the longer term commitment required of Berkshire is very large.”1543 Carpenter also
suggested that Weschler consider reviewing Cerberus’s analysis, noting that “Cerberus went very
far down the road exploring a similar alternative and concluded that it was not workable . . . .”1544
The Exhibit III.J.2(c)—5 below summarizes the scenarios evaluated with Berkshire Hathaway.




1538 Id.

1539 Id. at 2.

1540 Id.

1541 Id. at 4.

1542 Id.

1543 E-mail from M. Carpenter to T. Weschler (May 1, 2012) [ALLY_PEO_0079127].

1544 Id.



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     On May 3, 2012, Berkshire Hathaway sent an offer letter to AFI, stating that it did not
believe that a bankruptcy was in the best interests of AFI, the U.S. Treasury, Berkshire
Hathaway, or any of the significant stakeholders.1545 Berkshire Hathaway noted that a
bankruptcy filing would likely trigger an extended and costly proceeding in which many of the
past transactions between AFI and ResCap would be challenged by ResCap creditors, while
plaintiffs pursuing representation and warranty claims would be encouraged to file claims as
part of the bankruptcy process.1546

       Berkshire Hathaway’s proposed alternative scenario included the following terms:

           •     A Berkshire Hathaway subsidiary would purchase 100% of the equity interest in
                 ResCap for $1.00;1547

           •     AFI would contribute $850 million of cash to ResCap (based on the range of the
                 recently disclosed expected loss to be incurred by AFI pursuant to a potential
                 bankruptcy filing by ResCap);1548 and

           •     The sale of ResCap to a Berkshire Hathaway affiliate within 30 days would fully
                 refinance what was, as of March 31, 2012, a $1.4 billion intercompany loan from
                 AFI to ResCap.1549

     Berkshire Hathaway believed that this structure would allow ResCap to continue to
operate for the long-term as a viable, self-contained entity.1550 It was Berkshire Hathaway’s
intent that ResCap would continue operating as a going concern and would pay its debts as
they came due, while diligently reviewing and challenging any and all litigation claims to
which ResCap might be subjected.1551 Berkshire Hathaway proposed selling insurance to AFI
to mitigate AFI’s risk associated with past activities.1552

    On May 4, 2012, Carpenter responded to Berkshire Hathaway with a counterproposal.1553
The proposal included the following terms:

           •     Berkshire Hathaway would acquire AFI’s 100% equity interest in ResCap for $1.00,
                 on or prior to May 10, 2012;1554
1545 See id. at 1; Letter from T. Weschler to M. Carpenter (May 3, 2012) [ALLY_0225404].

1546 See id.

1547 Id.

1548 Id.

1549 Id.

1550 Id. at 2.

1551 Id.

1552 Id.

1553 Letter from M. Carpenter to T. Weschler (May 4, 2012) [EXAM00010554].

1554 Id. at 2.



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           •   AFI would pay $850 million to Berkshire Hathaway or contribute $850 million to
               ResCap in exchange for a full indemnity or other satisfactory insurance from
               Berkshire Hathaway for any liability associated with the proposed transaction as
               well as for any liability associated with ResCap that would otherwise be discharged
               in a ResCap chapter 11 case;1555 and

           •   Berkshire Hathaway would provide for the repayment of all of the AFI credit
               facilities and the repayment or refinancing of all third-party credit facilities as of the
               sale date.1556

   On May 4, 2012, Berkshire Hathaway responded with a binding and unconditional
commitment, which expired on May 6, 2012.1557 The proposal included the following terms:

           •   Berkshire Hathaway would acquire AFI’s 100% equity interest in ResCap for $1;1558

           •   The contemplated sale of ResCap’s Platform Sale to Fortress would not be
               consummated;1559

           •   AFI would contribute $850 million to ResCap;1560 and

           •   Berkshire Hathaway would share evenly with AFI in any liabilities in excess of
               $1 billion associated with ResCap that would otherwise be discharged in a ResCap
               chapter 11 case, subject to a cap of $3 billion, in exchange for a payment by AFI to
               Berkshire Hathaway of $500 million.1561




1555 Id.

1556 Id.

1557 Letter from T. Weschler to M. Carpenter (May 4, 2012) [EXAM00010547].

1558 Id.

1559 Id.

1560 Id.

1561 Id.



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     On May 5, 2012, Carpenter forwarded Berkshire Hathaway’s May 4, 2012 proposal to
the AFI Board and informed them that, after consulting with Kirkland & Ellis, Davis Polk, and
Evercore, he intended to reject Berkshire Hathaway’s offer for the following reasons:

                Any proposal which leaves [AFI] with exposure in a worst case
                scenario is unattractive versus the [bankruptcy] alternative. In
                this case the [$]3 billion cap would leave [AFI] vulnerable in
                possible scenarios. . . . The cost of the insurance is very high.
                We would essentially be paying [$]1.35 billion for [$]1 billion
                dollars of insurance after we have absorbed the first [$]1 billion
                loss.1562

In response, Mayree Clark, an AFI Board member, suggested that AFI continue to explore
options with Berkshire Hathaway because “[t]here is a number where I, for one, could get
comfortable doing something . . . .”1563 Carpenter e-mailed Clark and explained, “this is a
game. This proposal is more costly than any of the sale/spin off scenarios we discussed. Can
do a lot of settling for [$]3 billion!”1564 But Clark continued to believe a deal was possible,
and recommended that AFI insist that Berkshire Hathaway “buy equity in [AFI] as part of any
transaction.”1565 Carpenter responded, “[W]e will consider any deal that separates [AFI]
completely from Rescap including contingent liabilities. Any deal that does not accomplish
that objective is a non starter. Berkshire is not willing to do such a deal. QED.”1566

     On May 5, 2012, Carpenter sent a response letter to Berkshire Hathaway stating that its
May 4, 2012 proposal terms were “unworkable as written.”1567 According to Carpenter, AFI
required “full and complete protection against liability associated with a Berkshire transaction
for ResCap as well as liability associated with ResCap that would otherwise be discharged in a
ResCap chapter 11 case.”1568 In response, Weschler wrote:

                [Y]ou have stressed to us that you believe such liabilities we
                suggest to insure are expected to be zero in the event of a
                ResCap bankruptcy. . . . [I]t is not clear to us that a ResCap
                bankruptcy would cleanse [AFI] of exposure to past
                intercompany transactions between [AFI] and ResCap. . . . Our
                offer set forth [May 4, 2012] remains open—with or without the
                insurance provision.1569
1562 E-mail from M. Carpenter to the AFI Board (May 5, 2012) [ALLY_0381237].

1563 E-mail from M. Clark to the AFI Board (May 5, 2012) [ALLY_0381237].

1564 E-mail from M. Carpenter (May 5, 2012) [ALLY_0381237].

1565 E-mail from M. Clark (May 6, 2012) [ALLY_PEO_0079157].

1566 E-mail from M. Carpenter (May 6, 2012) [ALLY_PEO_0079157].

1567 Letter from M. Carpenter to T. Weschler (May 5, 2012) [EXAM00063836].

1568 Id.

1569 E-mail from T. Weschler to M. Carpenter (May 5, 2012) [EXAM00069914].



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     On May 7, 2012, Carpenter wrote a brief letter to Weschler explaining that none of
Berkshire Hathaway’s proposals was acceptable to AFI’s “baseline requirements” for a
ResCap equity sale.1570 Mark Neporent of Cerberus expressed the view that Berkshire
Hathaway’s offer to purchase the ResCap equity for $1 was “amateurish and ridiculous” and
did not “address a fraction of the issues that would have to be addressed under the
circumstances. Nobody was going to let them steal that platform for a dollar.”1571

     Marano, who was not a party to the negotiations, stated that he “wish[ed] [AFI] had made
an effort to sell [ResCap] to Warren Buffett,” as opposed to letting ResCap file bankruptcy,
and “that probably would have been the better path.”1572

     On May 10, 2012, Berkshire Hathaway stated that it could step into Fortress’s shoes with
short notice if Fortress faded as a stalking horse bidder. Carpenter indicated that this made
more sense than any of Berkshire Hathaway’s other proposals.1573

     As previously discussed, Berkshire Hathaway was later selected by the Bankruptcy Court
to be the stalking horse bidder for the Legacy Sale and ultimately prevailed at the auction with
a bid of $1.5 billion.1574

    3. Negotiation And Entry Into AFI Settlement And Plan Sponsor Agreement

      In connection with discussions regarding a possible settlement of Estate and Third-Party
Claims, ResCap and AFI identified a range of possible chapter 11 restructuring scenarios. The
least desirable option for all parties was a “free fall” restructuring,1575 which contemplated
“[a]sset sale(s) under section 363 . . . followed by a wind-down of the estate,” with no ResCap-
AFI settlement.1576 The most preferable option—particularly from AFI’s perspective—was
referred to as the “elegant” restructuring,1577 which contemplated support from AFI (including a
settlement contribution in exchange for the Debtor Release and the Third-Party Release) and the
sale of ResCap’s assets pursuant to a plan of reorganization that would have been “pre-arranged
with key stakeholders prior to filing.”1578 An intermediate option contemplated that the ResCap
1570 Letter from M. Carpenter to T. Weschler (May 5, 2012) [EXAM00010538].

1571 Int. of M. Neporent, Feb. 6, 2013, at 260:2–10.

1572 Int. of T. Marano, Feb. 27, 2013, at 158:16–20.

1573 E-mail from M. Carpenter (May 10, 2012) [CCM00120369] (discussing Berkshire Hathaway’s interest in

    being stalking horse bidder).
1574 Notice of Successful Bidders at the Auctions and Sales of (A) the Platform Assets to Ocwen Loan Servicing,

    LLC and (B) the Whole Loan Assets to Berkshire Hathaway Inc. [Docket No. 1960] at 3.
1575 Dep. of J. Mack, Nov. 14, 2012, at 96:7–9, 101:3–6.

1576 Discussion
              Materials—Joint Presentation by Ally and ResCap, dated Jan. 23, 2012, at RC00096080
    [RC00096076].
1577 See Dep. of J. Mack, Nov. 14, 2012, at 84:5–14, 96:5–15, 99:5–17; Int. of P. West, Jan. 11, 2013, at 190:3–

    16.
1578 Discussion
              Materials—Joint Presentation by Ally and ResCap, dated Jan. 23, 2012, at RC00096080
    [RC00096076].

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asset sales could be consummated pursuant to section 363 rather than in a plan of
reorganization, but still included support from AFI (including a settlement contribution in
exchange for the Debtor Release).1579 At a minimum, both AFI and ResCap wanted to ensure a
“soft landing” for ResCap’s mortgage business to “preserve[] the value and functionality of the
operating platform.”1580

             a. ResCap’s Views Regarding Negotiations With AFI

    ResCap and its advisors viewed a settlement with AFI as necessary to achieve the goal of
an “elegant” chapter 11 filing. When asked to explain why this was the case, Puntus of
Centerview said:

                 [AFI] . . . is the debtor’s parent. We originate loans through
                 [AFI]. . . . [T]hey had secured facilities aggregating over a
                 billion dollars outstanding to [AFI]. We had various contractual
                 relationships with them. They provided us a DIP facility. They
                 were potentially going to be a stalking horse not only for the
                 whole loan portfolio but potentially for the platform. They were
                 the stalking horse for the whole loan portfolio. So, from our
                 perspective, Centerview’s perspective, and the company’s
                 perspective as well, having them supportive of the case and
                 supportive of ResCap continuing to do business in the ordinary
                 course was crucial. In fact, had they not been supportive, and
                 had we not been able to continue to do business in the ordinary
                 course, then we wouldn’t have had a stalking horse, and we
                 wouldn’t have had a successful auction like we did [in October
                 2012]. They were preconditions to ultimately selling these
                 assets.1581

      The ResCap management team and its advisors viewed “any consideration to be paid by
[AFI] to ResCap” in connection with a settlement of claims as “separate from funding that may be
required for the DIP loan, as a bidder for ResCap assets or as capital for any new entity owning
former ResCap assets going forward.”1582 Centerview understood that AFI viewed negotiations
differently, with AFI’s willingness to provide any support to ResCap influenced by whether it
would be able to settle its exposure to ResCap-related claims.1583 According to Puntus,


1579 See E-mails between L. Nashelsky and R. Schrock (May 13, 2012) [CCM00566819].

1580 Int. of M. Carpenter, Mar. 4, 2013, at 234:1–18; see also Materials for Discussion, dated Feb. 24, 2012, at

   RC40020316 [RC40020290]; Discussion Materials—Joint Presentation by Ally and ResCap, dated Jan. 23,
   2012, at RC00096081 [RC00096076].
1581 See Dep. of M. Puntus, Nov. 5, 2012, at 30:20–31:25.

1582 Materials for Discussion, dated Dec. 12, 2011, at RC00000120 [RC00000114].

1583 See Dep. of M. Puntus, Nov. 5, 2012, at 32:2–12.



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“[AFI] was using every lever it could to negotiate the best possible settlement.”1584 As Marano
noted, the “mixture of currency from [AFI] changed at least two or three times a week.”1585

      AFI was seeking a global settlement, including a release of Third-Party Claims.1586
However, it is not clear whether ResCap’s independent directors ever understood the
distinction between “claims of third parties that could flow through ResCap to [AFI]”1587—
referred to in the January 25, 2012 Morrison & Foerster presentation as “[c]ontribution claims
arising as a result of ResCap’s liability to third parties”1588—and claims that third-party
creditors could potentially assert directly against AFI, and therefore did not ascribe
appropriate value to the requested Third-Party Release.1589 Essentially, Mack and Ilany were
prepared to negotiate primarily with respect to a potential release of the Debtors’ claims
against AFI, but were negotiating with highly-experienced AFI and Cerberus principals who
were prepared to negotiate a release of both the Debtors’ potential claims against AFI and
Third-Party Claims.1590




1584 Id. at 45:5–11. Puntus further suggested that AFI’s provision of the DIP was influenced by the possible

    settlement of estate claims against it, noting that AFI used its willingness to continue originating loans for
    ResCap in bankruptcy “in the context of negotiating the settlement of the estate’s claims against them.” Id. at
    45:12–18.
1585 See Dep. of T. Marano, Nov. 12, 2012, at 255:8–10.

1586 See Int. of J. Mack, Jan. 15, 2013, at 207:7–208:16; Dep. of T. Hamzehpour, Nov. 13, 2012, at 50:3–51:4

    (“That Third-Party Releases would be required, in order to achieve a substantial contribution from AFI . . .
    was clear to everyone internally, in the context of the discussions that were beginning to take shape [in April
    2012].”); Notes of P. West (Apr. 2, 2012), at EXAM00128216 [EXAM00128214] (AFI “wants 3rd party
    releases from creditors & litigants”).
1587 Int. of J. Mack, Jan. 15, 2013, at 206:3–208:3.

1588 See
       Morrison & Foerster Report on the Independent Review Claims Analysis, dated Jan. 25, 2012, at
    RC00023725 [RC00023710].
1589 See Int. of J. Mack, Jan. 15, 2013, at 206:3–209:16 (Mack assigned “no specific value” to a Third-Party

    Release); Int. of J. Ilany, Nov. 28, 2012, at 157:6–15 (Ilany did not remember that the AFI Settlement and
    Plan Sponsor Agreement included a proposed Third-Party Release for AFI and did not remember considering
    the value of Third-Party Claims for purposes of agreeing to a Third-Party Release). While Morrison &
    Foerster considered third-party claims, see Int. of G. Lee, Feb. 20, 2013, at 59:12–60:21, 222:14–223:1,
    Morrison & Foerster’s January 25, 2012 report to the ResCap Board did not review claims relating to AFI’s
    potential liability directly to third parties. See Morrison & Foerster Report on the Independent Review
    Claims Analysis, dated Jan. 25, 2012 [RC00023710].
1590 See Section III.J.2.b (discussing investigation of legal claims by Kirkland & Ellis on behalf of AFI).



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     In addition, the ResCap principals approached the settlement as a business deal rather
than a settlement reflecting the merits of legal claims. Mack testified that his settlement
negotiations with Carpenter “really had nothing to do with the legal arguments” identified in
the Morrison & Foerster claims analysis.1591 As Mack testified:

                  Mike Carpenter and I never discussed legal issues, legal
                  matters . . . the legal basis for any of this. We would discuss the
                  fact that we were able to—we were trying to settle lawsuits, that
                  we were trying to settle I guess what you would broadly call
                  legal claims. But we were not talking the specific legalities of
                  the law. We rely on our advisors to do that.1592

Although Mack ostensibly recognized that the underpinning of any settlement between
ResCap and AFI was a release of legal liabilities for AFI in exchange for consideration,1593
Mack did not believe that he was “settling legal claims.”1594

      While Mack and Ilany negotiated directly with AFI principals, other ResCap Board
members were kept apprised of the process and expressed views regarding the appropriate
settlement amount. Marano testified that he was “fairly vocal” in expressing his view to
Carpenter and other members of the ResCap Board that “it probably would take something
close to $2 billion to settle this. . . . [N]o one was going to do a deal for 750 [million].”1595
Marano later clarified that his $2 billion estimate was not “necessarily based on the merits of
the claims,”1596 but represented the amount he believed would be necessary “to get all of the
investors or vulture funds in the deal to go away . . . to buy peace.”1597

              b. AFI’s Views Regarding Negotiations With ResCap

     According to Tim Devine, AFI’s Chief Counsel of Litigation, “[AFI] was looking to
achieve an appropriately expedited, clean, clear, fair, comprehensive and quick resolution in
connection with the ResCap filing. And that’s what motivated [AFI]’s participation in the
1591 Dep. of J. Mack, Nov. 14, 2012, at 92:6–93:4. Indeed, Mack testified that he left the Morrison & Foerster

    presentation in the board room when he left the meeting on January 25, 2012, and that he did not need to
    review the materials at all during the course of the negotiations. Id.
1592 Id. at 163:22–164:18.

1593 Id. at 84:19–85:5.

1594 Id. at 131:13–24.

1595 Dep. of T. Marano, Nov. 12, 2012, at 92:11–94:23. Mack characterized Marano’s view of the appropriate

    settlement amount as suggesting that $2 billion was “desirable.” Mack did not disagree with Marano’s
    assessment, but stated that he believed the final settlement amount was nevertheless “fair.” See Dep. of J.
    Mack, Nov. 14, 2012, at 115:21–116:22.
1596 Dep. of T. Marano, Nov. 12, 2012, at 232:11–18.

1597 Id. at 193:12–19.



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[AFI]/ResCap settlement agreement and to—motivated the participation and the discussions
with Kathy Patrick.”1598
      As noted above, ResCap viewed any settlement contribution to be paid by AFI as
separate and distinct from AFI support for ResCap during a bankruptcy proceeding.1599 AFI,
on the other hand, actively sought to characterize any support it provided to ResCap, directly
or indirectly, in or out of bankruptcy, as settlement value.1600 As Carpenter described in a
December 26, 2011 e-mail, AFI viewed support for ResCap “in terms of business transfers,
ongoing relationships [and] DIP financing” as evidence of “substantial value AFI/[Ally Bank]
can provide to the estate to justify a 9019 settlement.”1601 Carpenter further observed that “the
difference between the ‘bare minimum’ support necessary from AFI to protect its own
interests and the support required for ResCap to implement its desired post [bankruptcy]
strategy to maximize value is quite substantial . . . .”1602
      Indeed, AFI was frustrated that ResCap did not give them the settlement credit AFI
believes to be appropriate. As Carpenter noted in December 2011, “topping up” ResCap’s
TNW was “real value” and should have been “part of a broader negotiation with Rescap (eg
9019). . . . I think we are nuts to forgive 200mm of debt and get nothing for it!”1603 At an
interview in March 2013, Carpenter stated that he could “confidently demonstrate a billion
dollars of value created” by AFI—separate and apart from the proposed $750 million cash
contribution—and was frustrated that AFI was told that that value “doesn’t count.”1604 Tessler
expressed similar frustration, noting that “ResCap and its creditors have profound amnesia
with regard to anything that ever happened historically that is in any way not supportive of
their desire to make outrageous claims.”1605
              c. Direct Negotiations Between ResCap And AFI
     On January 25, 2012, the same day Morrison & Foerster first presented the results of its
investigation to the ResCap Board, the ResCap Board members met with Carpenter for
approximately half an hour with no advisors present.1606 Marano testified that, at that meeting,
1598 Dep. of T. Devine, Nov. 19, 2012, at 148:23–149:6.

1599 Materials for Discussion, dated Dec. 12, 2011, at 6 [RC00000114].

1600 See, e.g., E-mails between M. Carpenter and J. Mackey (Mar. 28, 2012) [ALLY_0381024] (“Question is how

    do we get credit for [capital injection of $150 million]” relating to the “unavoidable” transfer of certain
    reserves from ResCap’s books to AFI’s books).
1601 E-mail from M. Carpenter (Dec. 26, 2011), at ALLY_0142357 [ALLY_0142356].

1602 Id. at ALLY_0142356–57. In response, Tessler remarked that AFI’s financial obligations with respect to

    various government settlements should also be “part of the consideration of the 9019 action.” E-mail from L.
    Tessler (Dec. 26, 2011) [ALLY_0142356].
1603 E-mail from M. Carpenter to J. Brown (Dec. 31, 2011) [ALLY_0142373].

1604 Int. of M. Carpenter, Mar. 4, 2013, at 272:14–274:3.

1605 Int. of L. Tessler, Feb. 28, 2013, at 192:16–193:8.

1606 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 25, 2012, at RC40019194

    [RC40019179].

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“there was a desire expressed by Mr. Carpenter for [AFI] to try to come to a settlement with
ResCap, if the number was fair and reasonable. And there were platitudes . . . from the
ResCap board members saying they, too, would like to get to an agreement.”1607 Mack stated
that his “sense” of the ResCap Board’s meeting with Carpenter was that “it was a meeting to
try to be sure we were on the same wave length, the same page, and that we can work
together.”1608 When asked to explain the meaning of “to be on the same page with [AFI],”
Mack explained, “we have a company that’s in financial distress and they’re the parent. We
need their help.”1609

      Several weeks later, on February 14, 2012, Morrison & Foerster met with Kirkland &
Ellis to present the results of the ResCap investigation of potential claims against AFI.1610 As
part of that presentation, Morrison & Foerster asserted that AFI’s control over ResCap had
resulted in a $7.6 billion diminution of ResCap’s estimated enterprise value and that the
market value of ResCap’s equity had declined by $12 billion.1611

      Both AFI and ResCap representatives have characterized the Morrison & Foerster
damages analysis as ResCap’s “initial ask” in the settlement negotiations. Jeff Brown
explained to the FRB that “originally ResCap presented a $8 or $9B claim against [AFI].”1612
Mack stated that he never personally presented such a claim,1613 which is consistent with the
fact that the damages claim was presented by ResCap’s attorneys directly to AFI’s attorneys.
Marano testified that he could not precisely recall the amount of ResCap’s “initial ask” but
that it “was a really big number. It was much bigger than $2 billion. . . . [AFI]’s reaction was
NFW, we’d rather litigate.”1614 Carpenter described the Morrison & Foerster damages analysis
as “laughable and fatally flawed.”1615




1607 Dep. of T. Marano, Nov. 12, 2012, at 74:2–75:4.

1608 See Int. of J. Mack, Jan. 15, 2013, at 93:9–16.

1609 Id. at 93:18–25.

1610 Id. at 86:1–14, 156:1–5.

1611 Morrison & Foerster ResCap Claims Presentation, dated Feb. 14, 2012, at 48–51 [RC00028255].

1612 E-mail from J. Brown (May 8, 2012) [ALLY_0141967] (Brown noted that the original $8–$9 billion claim

    was “totally gone” as of May 8, 2012).
1613 Dep. of J. Mack, Nov. 14, 2012, at 130:10–131:24. Mack speculated that an $8 billion or $9 billion claim

    may have been presented “in an early meeting between [Morrison & Foerster] and [Kirkland & Ellis],” but
    noted that he never presented such an “ask” because “[t]hese are legal matters. I’m not going to discuss legal
    matters with principals.” Id.
1614 Dep. of T. Marano, Nov. 12, 2012, at 233:4–16.

1615 Int. of M. Carpenter, Mar. 4, 2013, at 232:14–233:14.



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      It appears that the principals did not begin negotiating in earnest until March 2012.1616 In
the intervening period, attorneys from Morrison & Foerster and Kirkland & Ellis exchanged
their differing views on the legal merits of ResCap’s claims against AFI.1617

    The principal negotiators of the economic terms of the AFI Settlement and Plan Sponsor
Agreement were Mack and Ilany—the Special Review Committee—on behalf of ResCap, and
Carpenter and Tessler on behalf of AFI.1618 When asked about the process followed by the
Special Review Committee, Ilany said:

                  I do not remember the process. We went through a process
                  which advisors told us we need to go as far as the process. We
                  asked our advisors to tell us, to go over all the transactions and,
                  for lack of a better word, I’ll say translate it into English to us
                  from legalese which they did and they produced a very, very
                  large stack presentation which we went through excruciating
                  detail, where they gave us their conclusions which we decided to
                  accept. I don’t remember if we voted on it or not. Then after the
                  conclusions we were asked to go and talk with [AFI].1619

Mack explained that he primarily negotiated with Carpenter and Ilany negotiated with
Tessler.1620 Ilany asserted that, between him and Mack, he played the lead negotiating role on
behalf of the Special Review Committee.1621




1616 See Dep. of J. Mack, Nov. 14, 2012, at 94:14–22.

1617 See, e.g., Draft Minutes of a Special Meeting of the Board of Residential Capital, LLC, Feb. 22, 2012, at 2

    [EXAM11088864]; Draft Minutes of a Special Meeting of the Board of Residential Capital, LLC, Feb. 24,
    2012, at 4 [EXAM11088866].
1618 Dep. of J. Mack, Nov. 14, 2012, at 81:18–82:19; see also Dep. of T. Marano, Nov. 12, 2012, at 76:14–77:2,

    91:2–10. Marano testified that, even though he was not directly involved in settlement negotiations,
    whenever he spoke with Carpenter, he “always asked for more, including as it relates to [the settlement of
    claims].” Dep. of T. Marano, Nov. 12, 2012, at 92:11–21.
1619 Int. of J. Ilany, Nov. 28, 2012, at 126:9–127:2.

1620 Dep. of J. Mack, Nov. 14, 2012, at 101:25–102:13.

1621 Int. of J. Ilany, Nov. 28, 2012, at 145:15–18, 153:20–154:21 (“[T]he majority of the negotiations were done

    between Lenard Tessler and me on the telephone . . . . Sometimes twice a day.”).

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    The exhibit below presents a comprehensive list of the dates of Mack’s and Ilany’s
negotiations with Carpenter and Tessler that occurred between March and May 2012.1622




According to the Debtors’ records, Ilany engaged in at least fifteen negotiation sessions with
either Carpenter or Tessler, while Mack engaged in at least eight sessions (including two calls
with Carpenter on unknown dates). Ilany’s final recorded involvement in direct settlement
negotiations apparently occurred on April 30, 2012.


1622 On May 4, 2012, Marano, Abreu, and Whitlinger, comprising the management members of the ResCap Board,

   approved an amended compensation plan for the ResCap independent directors. See Residential Capital, LLC
   Action by Written Consent of the Management Members of the Board of Directors, dated May 4, 2012, at
   RC40019214–16 [RC40019179]. The amended compensation plan added additional background information
   noting that Mack and Ilany had “taken on additional responsibilities and [we]re devoting a substantial amount of
   additional time related to certain strategic negotiations with executives of [AFI] and [Cerberus] in respect of the
   potential sale or restructuring of [ResCap].” Id. at RC40019217. Accordingly, the amended compensation plan
   provided that Mack and Ilany would each receive a fee of $1,500 per session of “strategic restructuring
   negotiations” attended, retroactive to the date of their engagement. Id. at RC40019218. Exhibit III.J.3.c—1
   reflects the Debtors’ records for purposes of compensating Mack and Ilany.

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    On March 19, 2012, Carpenter e-mailed Marano to request a meeting with the Special
Review Committee.1623

     The meeting took place on or about March 23, 2012 with Mack, Ilany, Carpenter, and
Tessler present.1624 Carpenter outlined various restructuring alternatives for ResCap—all of
which involved a ResCap bankruptcy filing1625—and proposed a $750 million settlement
comprised of (1) $350 million in cash; (2) contribution of all of the equity of Ally Securities,
valued by AFI at $250 million; and (3) the value of the Ally Bank subservicing agreement,
valued by AFI at $150 million.1626 According to Mack, the non-cash aspects of that settlement
offer were “ancillary items which in our view ultimately didn’t really have value.”1627 As Gary
Lee of Morrison & Foerster explained, “the perception was that in and of itself this
represented an offer of $350 million full stop.”1628

      The next meeting of the four principal settlement negotiators occurred on or about
April 4, 2012.1629 In preparation for the April 4 meeting, Ilany, Mack, and ResCap’s advisors
developed the view that $1 billion dollars would be “good compensation” for claims against
AFI.1630 However, ResCap’s “counterproposal” at the April 4 meeting did not include a
specific number in terms of the AFI cash contribution, but instead “pointed out why
[ResCap] . . . didn’t assign value to certain parts of [AFI’s] proposal” and stressed the need for
“a reasonable headline number in terms of achieving credibility” for “the more elegant
process, involving a plan.”1631 As Ilany explained, “everybody had the same [goal]—it was to
keep the enterprise operating. . . . [S]o if you are to maximize the value for the company and
for the creditors, which I was working for, I had to make sure that I kept the company and the
1623 E-mail from M. Carpenter to T. Marano (Mar. 19, 2012) [EXAM00100919].


1624 See E-mails between T. Marano and C. Ortiz-Zorn (Mar. 22, 2012) [ALLY_0142489]; Int. of J. Mack,

    Jan. 15, 2013, at 86:6–14.
1625 Dep. of J. Mack, Nov. 14, 2012, 95:24–96:15.


1626 Evercore, Kirkland & Ellis, and Mayer Brown Project Rodeo Discussion Materials, dated Apr. 4, 2012, at

    CCM00444815 [CCM00444794]. As described by Mack, the alternatives presented by Carpenter ranged
    from a “free fall 363 bankruptcy” to a “plan settlement” under which “there would be a greater contribution
    by [AFI].” Dep. of J. Mack, Nov. 14, 2012, at 96:5–15.
1627 Dep. of J. Mack, Nov. 14, 2012, at 97:4–8.


1628 Int. of G. Lee, Feb. 20, 2013, at 264:6–266:9. Lee further explained that “it was ResCap’s view that the value

    of Ally Securities was functionally zero and maybe even a negative number.” Id.
1629 E-mailfrom C. Ortiz-Zorn (Apr. 3, 2012) [ALLY_0142547]. Wes Edens of Fortress also attended the
    meeting. See Int. of M. Carpenter, Mar. 4, 2013, at 245:8–246:20.
1630 Int. of J. Ilany, Nov. 28, 2012, at 140:15–143:2 (“[Mack] and I, were advised that if we were to go to court,

    we—they [Morrison & Foerster, Centerview, and FTI] felt, okay, I can’t give you percentages, I don’t
    remember, that we could get somewhere around a billion dollars in value out of the other side.”).
1631 Dep.
       of J. Mack, Nov. 14, 2012, at 98:23–100:21; see also Notes of P. West (Mar. 30, 2012), at
    EXAM00128214 [EXAM00128214] (“Come back with counter proposal $$—give after [April 4 meeting]”).

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value of the company intact, if I could.”1632 Mack stated that, at the conclusion of the April 4
meeting, the principals encouraged their advisors to immediately begin working on “an
agreement that mirrored” the proposed “elegant” resolution.1633

      Following the April 4 meeting, Ilany and Mack, together with ResCap’s advisors,
determined that ResCap’s counteroffer should be approximately $1.9 billion. As Ilany
explained, “in order to get to a billion dollars you have to start somewhere and starting right
under double sounded kind of right.”1634 In an April 5, 2012 presentation, ResCap proposed a
settlement contribution from AFI of at least $1.9 billion, which included the following
components: (1) $1 billion cash payment; (2) $500 million of value provided by AFI via the
transition services agreement, sub-servicing, and parent-financing; (3) $400 million of value
related to the assumption of regulatory costs; and (4) purchase by AFI through credit bid of
the assets secured by the A&R Secured Revolver Loan Agreement.1635 According to Lee, the
components of the $1.9 billion counteroffer were not particularly meaningful, but rather were
“simply a way to get to [$]1.9 [billion].”1636

     By April 5, 2012, AFI had revised its $750 million settlement offer by increasing the
proposed cash contribution to $600 million.1637 As of April 11, 2012, according to West’s
handwritten notes, ResCap was considering a settlement proposal of $1.55 billion, although it
is not clear what portion of that proposal was comprised of a cash contribution from AFI.
West observed, “[we] need to get somewhere in [the] middle.”1638

1632 Int. of J. Ilany, Nov. 28, 2012, at 141:12–25.

1633 Dep. of J. Mack, Nov. 14, 2012, at 100:3–7, 100:22–101:9.

1634 Int. of J. Ilany, Nov. 28, 2012, at 140:15–143:2 (“[Mack] and I, were advised that if we were to go to

    court . . . we could get somewhere around a billion dollars in value out of the other side.”). In contrast to
    Ilany’s statements, Mack testified that he and Ilany did not have an “ask” but rather argued for “a headline
    number” that they believed “needed to be” about $1 billion “to be credible.” Dep. of J. Mack, Nov. 14, 2012,
    at 83:3–23. But Gary Lee of Morrison & Foerster characterized the $1.9 billion as an “all-in ask,” Int. of G.
    Lee, Feb. 20, 2013, at 272:19–273:14, and Carpenter understood ResCap to have made a “counterproposal.”
    Int. of M. Carpenter, Mar. 4, 2013, at 250:19–251:4, 256:5–22.
1635 Draft FTI Presentation to the Board of Residential Capital, LLC, dated Apr. 5, 2012, at 5 [EXAM00176483].

    As of April 5, 2012, waterfall analyses prepared by FTI of the recoveries implied by the proposal did not
    provide an assumption related to allocation of the settlement between the Debtor entities. Id. at 3–4. West’s
    notes dated April 5, 2012 appear to show that ResCap was considering a settlement proposal of $1.55 billion,
    comprised of $1.4 billion in cash and $150 million in subservicing. See Notes of P. West (Apr. 5, 2012), at
    EXAM00128218 [EXAM00128214]. It is not clear if or when that offer was conveyed to AFI.
1636 Int. of G. Lee, Feb. 20, 2013, at 276:10–277:17 (noting that the goal was to get Ally Bank to be willing to

    allow ResCap to continue originating mortgages, creating value of what was perceived to be $100 million, to
    get DIP financing, and to get cash, and “there was a view that with those pieces of support together we’d be
    able to continue to underwrite and originate in bankruptcy and sell a platform as opposed to financial
    assets. And that that was going to be a big part of what would enhance the value of the return to creditors.”).
1637 See Notes of P. West (Apr. 5, 2012), at EXAM00128218 [EXAM00128214]; E-mail from M. Carpenter to

    L. Tessler (Apr. 19, 2012) [CCM00652320] (“Our last offer was 750 with 600 cash.”).
1638 Notes of P. West (Apr. 11, 2012), at EXAM00128221 [EXAM00128214].



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     On April 12, 2012, Carpenter sent an e-mail to Caribel Ortiz-Zorn, his administrative
assistant, with the subject line “To Lenard, Rick, Ray, David, Yelena, JB.”1639 In the e-mail,
Carpenter wrote that he had spoken with Mack and “took the opportunity to explain to him,”
among other things, “that our proposal was not an opening low ball but was responsive to the
facts as we know them and that the waterfall analysis comparison did not indicate that we
were off base,” whereas “the [Morrison & Foerster] ask did not seem to have any basis in
logic.”1640 Carpenter noted that Mack “got it, restated our mutuality of interest and his
optimism that we could reach a deal.”1641
     On April 19, 2012, AFI proposed that it could contribute the Ally Bank MSR portfolio to
ResCap—thereby allowing ResCap to sell the MSR portfolio to Fortress as part of the Chapter
11 Cases—as an alternative to cash as the principal form of settlement consideration.1642
According to Carpenter, MSR and cash were “fungible.”1643 Carpenter initially recommended
a settlement proposal that included the contribution of $800 million of Ally Bank’s MSR
portfolio and support for continued retail channel origination, which he valued at
$200 million.1644 Carpenter noted that such an offer would have been a “big jump, a big
headline number, above 750 in ‘cash equivalent’ and leaves room for another round.”1645
    Ultimately, AFI proposed to contribute Ally Bank’s entire MSR portfolio to ResCap.
ResCap could sell the portfolio to a purchaser in the Chapter 11 Cases, but ResCap’s share of
1639 E-mail from M. Carpenter to C. Ortiz-Zorn (Apr. 12, 2012) [ALLY_0142576]. Carpenter may have intended

    for Ortiz-Zorn to forward the e-mail to Tessler, Rick Cieri and Ray Schrock of Kirkland & Ellis, David Ying
    and Jelena Strelcova of Evercore, and Jeff Brown.
1640 Id.
       According to Lee, the “ask” that purportedly had no “basis in logic” was not the April 5, 2012
    counteroffer, but rather Morrison & Foerster’s February 14, 2012 damages assertion that AFI’s control over
    ResCap had resulted in a $7.6 billion diminution of ResCap’s estimated enterprise value. See Int. of G. Lee,
    Feb. 20, 2013, at 272:11–19.
1641 E-mail from M. Carpenter to C. Ortiz-Zorn (Apr. 12, 2012) [ALLY_0142576]. In the same E-mail, Carpenter

    also noted that he explained to Mack “how out of line I thought Tom’s behavior was yesterday.” Id. At his
    deposition, Marano stated that there is “no doubt” Carpenter was referring to him in that e-mail, and
    explained that “Carpenter frequently thought my behavior was out of line as I advocated for ResCap.” Dep.
    of T. Marano, Nov. 12, 2012, at 88:14–17.
1642 Summary Discussion of Ally Financial Inc. Support For a ResCap Chapter 11 Plan of Reorganization, dated

    Apr. 19, 2012, at 1–2 [RCES00002362] (attached to E-mail from A. Grossi to L. Nashelsky, J. Tanenbaum,
    and G. Lee (Apr. 19, 2012) [RCES00002361]).
1643 E-mail from M. Carpenter to L. Tessler (Apr. 19, 2012) [CCM00652320]; see also Dep. of T. Marano, Nov.

    12, 2012, at 132:5–134:12 (“I thought it was an interesting idea because it added more value to the estate not
    only from the cash value but it maintained a servicing asset that could have been sold away from the
    estate.”); Int. of M. Carpenter, Mar. 4, 2013, at 251:12–20, 257:5–9 (“The idea of using the MSR from Ally
    Bank was part of the conversation, which actually was very appealing to ResCap because it took the whole
    issue of the subservicing agreement stuff off the table, and gave them an asset that had, you know, a
    significant value.”). Divestiture of Ally Bank’s MSR portfolio was also beneficial to AFI for several reasons,
    and Tessler did not think AFI would retain it “under any circumstance.” E-mail from L. Tessler to C.
    Pinkston (Mar. 20, 2012) [CCM00565103].
1644 E-mail from M. Carpenter to L. Tessler (Apr. 19, 2012) [CCM00652320].

1645 Id.



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the sale proceeds would be capped.1646 Kirkland & Ellis sent Morrison & Foerster a
“settlement discussion document” that set forth the terms of an AFI settlement contribution in
exchange for a Debtor Release and a Third-Party Release as follows: (1) AFI would contribute
Ally Bank’s MSR portfolio to ResCap, with sale proceeds received by ResCap on account of
the Ally Bank MSR to be capped at $750 million; (2) AFI would purchase ResCap’s HFS
Portfolio at Fortress’s proposed bid price; and (3) Ally Bank would support the continuation
of origination of MSR through the ResCap chapter 11 case.1647 The terms of AFI’s settlement
proposal were conveyed to the ResCap Board at a special meeting on April 20, 2012.1648

     The April 19, 2012 settlement proposal included essentially the same three components
of AFI support that were memorialized in the AFI Settlement and Plan Sponsor Agreement
and presented to the Bankruptcy Court on the Petition Date (assuming cash and MSR to be
fungible). However, ResCap and AFI had not finished negotiating at that point. As described
below, although AFI’s offers to bid on the HFS Portfolio and to support retail origination
remained constant, the cash/MSR portion of the settlement contribution was an open item.
Indeed, on April 23, 2012, pursuant to a conversation between Ilany and Carpenter,1649
Morrison & Foerster sent a revised settlement proposal to AFI’s Project Rodeo team that
removed the $750 million cap on AFI’s contribution and replaced it with brackets signifying
the amount of AFI’s contribution remained subject to further negotiation.1650

      Ilany explained that, in late April, he and Tessler reached a “handshake” agreement on an
AFI settlement contribution of $1.1 billion, comprised of cash and “things that I thought are
extremely important for the business.”1651 However, according to Ilany, Tessler informed him
shortly thereafter that “the trade is off” because “Carpenter will not let me do—I cannot do
that.”1652 Ilany stated that he “went ballistic” and called Carpenter:

                  I’m not paraphrasing—[Carpenter] basically said that he has an
                  FDIC to deal with, that he knows that he’s going to have to
                  maybe pay some more money a little bit later, that at a certain
1646 Summary Discussion of Ally Financial Inc. Support For a ResCap Chapter 11 Plan of Reorganization, dated

    Apr. 19, 2012, at 1 [RCES00002362] (attached to E-mail from A. Grossi to L. Nashelsky, J. Tanenbaum, and
    G. Lee (Apr. 19, 2012) [RCES00002361]).
1647 Id. AFI valued the settlement contributions at $750 million for the Ally Bank MSR, $200 million for the

    purchase of the HFS Portfolio, and $200 million for the support of originations. See Evercore, Kirkland &
    Ellis, and Mayer Brown Project Rodeo Discussion Materials, dated Apr. 23, 2012, at 3 [CCM00335615].
1648 Draft
        Minutes of a Special Meeting of the Board of Residential Capital, LLC, Apr. 20, 2012, at 1
    [EXAM11088893].
1649 See E-mail from T. Goren (Apr. 23, 2012) [CCM00534282].

1650 BlacklineSummary Discussion of Ally Financial Inc. Support For a ResCap Chapter 11 Plan of
    Reorganization, dated Apr. 23, 2012, at 1 [CCM00534287] (comparing AFI’s April 19, 2012 proposal to
    ResCap’s April 23, 2012 proposal) (attached to E-mail from T. Goren (Apr. 23, 2012) [CCM00534282]).
1651 Int. of J. Ilany, Nov. 28, 2012, at 145:15–148:11.

1652 Id.



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                   point whatever he pays—we didn’t talk about—but we were at a
                   billion-one, that he was pealing me off—he said, the FDIC is
                   going to step in. . . . So, he said, “I cannot do that.” And we
                   ended up at a billion-50.1653

Mack, like Ilany, also suggested that his intervention was needed in late April 2012 to keep
the settlement on track for ResCap. According to Mack, ResCap and AFI purportedly reached
agreement in principle on the $1.05 billion “headline number” during “the last weekend of
April 2012.”1654 Mack testified that the parties negotiated over the weekend of April 28 and
29, 2012 “to bridge a difference of economics of about $150 million.”1655 At that time, Mack
testified, “the bid and the ask” on the settlement was between $750 million and $1.1 billion,
but the parties “were still working on some of the fine points.”1656 According to Mack, to
bridge the gap, certain advisors proposed that AFI, ResCap, and Fortress each contribute
approximately $50 million in value, but “not cash necessarily.”1657 Mack testified that the
advisors’ proposal was “not consistent with the understanding” he had reached with Carpenter
and, after Carpenter contacted Mack, Mack contacted “the lawyers” and Marano and “put
people back on track.”1658

     On April 30, 2012, after ResCap and AFI had purportedly reached an agreement in
principle, the ResCap Board was presented with a draft settlement agreement which
contemplated that “[AFI] will make a Cash contribution to the Debtors in the amount of
$850 million.”1659 A blackline comparison that was also presented to the ResCap Board
reflected that the amount of the AFI cash contribution had changed from “[$750] million” on
April 29, 2012 to “$850 million” on April 30, 2012.1660




1653 Id. When asked to explain the statement that Carpenter reportedly said that AFI would “maybe pay some

    more money a little bit later,” Ilany stated that Carpenter meant that he “might have other liabilities.” Id. at
    147:5–148:11.
1654 Dep. of J. Mack, Nov. 14, 2012, at 102:14–105:5.

1655 Id. at 102:20–103:15; see also E-mail from T. Marano to J. Ilany (Apr. 29, 2012) [EXAM11114982] (“[W]e

    all doing docs at mofo now.”).
1656 Dep. of J. Mack, Nov. 14, 2012, at 104:6–16.

1657 Id. at 103:8–24.

1658 Id.

1659 DraftSettlement Agreement, dated Apr. 30, 2012, at RC40020541 [RC40020521]. The draft settlement
    agreement also contemplated that AFI would serve as the stalking horse bidder for the HFS Portfolio and
    would provide consumer lending origination support to the Debtors. Id.
1660 Blackline Draft Settlement Agreement, dated Apr. 30, 2012, at RC40020556 [RC40020521] (comparing
    April 30, 2012 draft to April 29, 2012 draft).


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     Ilany, who asserted he was the lead negotiator for ResCap,1661 was “away” beginning on
April 30, 2012 and did not have any recorded involvement in settlement negotiations after that
date.1662 Mack apparently took over in Ilany’s absence.1663

      Mack testified that AFI had never agreed to a cash contribution of $850 million and
explained that the $850 million number in the April 30, 2012 draft settlement agreement was
merely an “effort” by ResCap “to get a greater contribution from [AFI]” that AFI “never
agreed to.”1664 However, that statement is not consistent with the documents. Drafts of the
settlement agreement exchanged between ResCap and AFI suggest that, by May 4, 2012, AFI
had indeed agreed to a contribution of $850 million in cash or MSR.

     On May 2, 2012, Kirkland & Ellis sent a “draft settlement agreement incorporating AFI’s
comments” to Morrison & Foerster and principals at AFI and Cerberus.1665 In that draft,
Kirkland & Ellis revised AFI’s cash contribution from “$850 million” to “$850,000,000;
provided that a purchaser acceptable to [AFI] purchases the [Ally Bank] MSR . . . .”1666 In
other words, AFI’s May 2, 2012 draft tied AFI’s cash contribution to a successful sale of the
Ally Bank MSR portfolio.

     On May 3, 2012, after a discussion with Ray Schrock of Kirkland & Ellis,1667 Morrison &
Foerster sent a draft settlement agreement to AFI’s Project Rodeo team that provided that AFI
would make a contribution of $850 million to the Debtors, whether in the form of cash or by
contributing the Ally Bank MSR portfolio. Specifically, ResCap’s May 3, 2012 draft
agreement read as follows:

                  [AFI] will make a Cash contribution to the Debtors in the
                  amount of $850,000,000. Without limiting the forgoing, to the
                  extent that the Purchaser agrees to purchase the Ally MSR for a

1661 Int. of J. Ilany, Nov. 28, 2012, at 145:15–18, 153:20–154:21.

1662 See E-mail from T. Marano (Apr. 30, 2012) [EXAM11114989] (“Ilany is away [so] I [am] fairly certain he

    will not be able to dial in.”); E-mail from J. Ilany to T. Marano (Apr. 29, 2012) [EXAM11114982]
    (“Remember that I am leaving tommorow [sic] . . . .”); Independent Director Compensation, dated May 10,
    2012, at EXAM20124551 [EXAM20124550].
1663 See Independent Director Compensation, dated May 10, 2012, at EXAM20124551 [EXAM20124550]; Dep.

    of J. Mack, Nov. 14, 2012, at 125:4–16 (“The 850 [million] was a number that perhaps [Ilany] had, but I’ll
    take the credit for it or blame for it.”).
1664 Dep. of J. Mack, Nov. 14, 2012, at 124:7–125:16; see also Int. of J. Mack, Jan. 15, 2013, at 185:19–186:14

    (stating that AFI’s proposed settlement contribution “never got above $750 [million] in conversations
    between [Carpenter] and myself. . . . [T]here was at one time an attempt to get it to be greater than that. And
    that appeared in a document, but that was never something that [Carpenter] had ever agreed to”).
1665 E-mail from N. Ornstein to L. Nashelsky and G. Lee (May 2, 2012) [CCM00449220].

1666 Blackline Draft Settlement Agreement, dated May 2, 2012, at 6 [CCM00449236] (attached to E-mail from N.

    Ornstein to L. Nashelsky and G. Lee (May 2, 2012) [CCM00449220]).
1667 See E-mail from T. Goren (May 3, 2012) [RCES00001556].



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                 purchase price of at least $1,150,000,000 and assume
                 representation and warranty liability associated with the Ally
                 MSR (the “MSR Sale Conditions”), [AFI] shall make such
                 contribution by contributing the Ally MSR to the Debtors on or
                 before the Effective Date; provided that [AFI] shall be entitled
                 to receive direct payment of any Ally MSR sale proceeds
                 received by the Debtors between $850,000,000 and
                 $1,150,000,000 and [AFI] and the Debtors shall share all
                 proceeds in excess of $1,150,000,000, [ ]% to the Debtors and
                 [ ]% to [AFI]. [To be discussed].1668

     On May 4, 2012, ResCap and AFI apparently reached agreement on a guaranteed $850
million contribution in the form of either cash or MSR sale proceeds. First, at approximately
noon, Lee e-mailed Devine and wrote:

                 There needs to be a back stop to the Ally Bank MSR proceeds.
                 As drafted, we get nothing under the plan if you decide not to
                 sell the Ally Bank MSR to Fortress or a higher bidder. If you
                 choose not to sell the Ally Bank MSR for any reason, AFI must
                 fund the settlement amount with cash ($850 million).1669

Then, in an e-mail to Carpenter at approximately 2:30 p.m., Marano identified “the
withdrawal of Cash in event of no MSR sale as a re-trade” that was a “major road block[] to
moving forward.”1670 Marano did not mention the amount of the proposed settlement in his e-
mail and appears to have been focused on the form of the contribution.1671 At approximately
11:40 p.m. that night, Kirkland & Ellis sent a “draft settlement agreement incorporating AFI’s
comments” that accepted the pertinent language from ResCap’s May 3, 2012 draft, such that
AFI’s May 4, 2012 draft agreement read as follows:

                 [AFI] will make a Cash contribution to the Debtors in the
                 amount of $850,000,000. Without limiting the forgoing, to the
                 extent that the Purchaser agrees to purchase the Ally MSR for a
                 purchase price of at least $1,100,000,000 and assume
                 representation and warranty liability associated with the Ally
                 MSR (the “MSR Sale Conditions”), [AFI] shall make such
                 contribution by contributing the Ally MSR to the Debtors on or
                 before the Effective Date; provided that [AFI] shall be entitled
1668 Draft Settlement Agreement, dated May 3, 2012, at 6–7 [RCES00001557] (attached to E-mail from T. Goren

    (May 3, 2012) [RCES00001556]).
1669 E-mailfrom G. Lee to T. Devine (May 4, 2012) [ALLY_0334556]. Devine forwarded Lee’s email to
    Solomon, who forwarded Lee’s e-mail to Carpenter, Tessler, and Kirkland & Ellis. E-mail from W. Solomon
    (May 4, 2012) [ALLY_0334556].
1670 E-mail from T. Marano to M. Carpenter (May 4, 2012) [EXAM00003199].

1671 Id.



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                 to receive direct payment of any Ally MSR sale proceeds
                 between $850,000,000 and $1,100,000,000 and [AFI] and the
                 Debtors shall share all proceeds in excess of $1,100,000,000,
                 50% to the Debtors and 50% to [AFI].1672

Again, there were no brackets around the $850 million to suggest the amount remained subject
to further negotiation and, moreover, Kirkland & Ellis deleted the phrase “[To be discussed]”
from the “Cash Contribution” section of the agreement.1673

     Notwithstanding the apparent agreement on the terms of an $850 million contribution
from AFI, Kirkland & Ellis sent a revised draft settlement agreement to Morrison & Foerster
on May 5, 2012 at approximately 12:30 p.m., which changed AFI’s contribution to either $750
million in cash or $850 million upon the successful sale of the Ally Bank MSR.1674 Almost
contemporaneously with the transmittal of AFI’s revised draft settlement agreement, Larren
Nashelsky of Morrison & Foerster e-mailed Schrock and requested, on behalf of Marano, “an
email from [Kirkland & Ellis] (not the settlement agreement) with 3-4 bullets of the settlement
terms around the cash/Ally MSR payment to ResCap and any straight cash backstop. He wants
no misunderstanding.”1675 It is unclear why Marano, rather than either Ilany or Mack, was
requesting information from AFI on the terms of the settlement. Marano explained that he was
seeking “clarification” regarding “additional support that could come to ResCap” in
connection with the valuation of the Ally Bank MSR portfolio, and he “wanted to see if it was
in the agreement.”1676 In response, Schrock wrote:

                 Here it is. Straight from the agmt—with plain english to assist.
                 Hope helpful.

                 Upon satisfaction of the conditions set forth in the settlement
                 Agmt:

                 [AFI] will make a Cash contribution to the Debtors in the
                 amount of $750,000,000;

                 provided that if the Purchaser agrees to purchase the Ally MSR
                 for a purchase price of at least $1,100,000,000 and assume
                 representation and warranty liability associated with the Ally
1672 Draft Settlement Agreement, dated May 4, 2012, at 6 [RCES00001523] (attached to E-mail from M. Meltzer

   to L. Nashelsky and G. Lee (May 4, 2012) [RCES00001506]).
1673 Blackline Draft Settlement Agreement, dated May 4, 2012, at 6–7 [RCES00001507] (comparing ResCap’s

   May 3, 2012 draft to AFI’s May 4, 2012 draft) (attached to E-mail from M. Meltzer to L. Nashelsky and G.
   Lee (May 4, 2012) [RCES00001506]).
1674 Blackline Draft Settlement Agreement, dated May 4, 2012, at 6 [RCES00001459] (attached to E-mail from

   V. Cole to L. Nashelsky and G. Lee (May 5, 2012) [RCES00001443]).
1675 E-mail from L. Nashelsky to R. Schrock (May 5, 2012) [ALLY_0021383].

1676 Dep. of T. Marano, Nov. 12, 2012, at 132:5–133:2.



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                  MSR (the “MSR Sale Conditions”), [AFI] shall make a
                  contribution of the Ally MSR to the Debtors immediately before
                  the effective date of the plan of reorg with

                  The debtors receiving the first $850,000,000 of Ally MSR sale
                  proceeds,

                  [AFI] receiving direct payment of any Ally MSR sale proceeds
                  between $850,000,000 and $1,100,000,000

                  [AFI] and the Debtors shall share all proceeds in excess of
                  $1,100,000,000, 50% to the Debtors and 50% to Ally.1677

      It appears that Marano was unaware that AFI had sent ResCap a draft settlement
agreement the previous evening proposing a cash contribution of $850 million. Marano
testified that his recollection as to the amount AFI was offering in the settlement negotiations
at the time was as follows:

                  [T]here had been talk of a 750 [million] settlement. Then there
                  was an effort to try and get additional proceeds above the 750
                  [million]. Keep in mind Mr. Mack and Ilany did most of this
                  negotiation or all this negotiation. At one point in order to get
                  more money from [AFI], something above 750 [million], there
                  apparently was a discussion of [AFI] selling their MSR and
                  contributing some portion of the MSR to ResCap.”1678

Marano stated that AFI estimated its MSR to have a value of approximately $1.1 billion and,
if certain sale conditions were met, AFI would have agreed to contribute the first $850 million
of sale proceeds to ResCap.1679 Marano testified that he believes the concept “became too
complex to incorporate into the document” and that ultimately, “Ilany and Mack decided . . .
to take the 750 or Carpenter decided to take [the MSR Sale] off the table.”1680

     Carpenter, at his interview, initially explained that he remembered ResCap’s
representatives asking for an $850 million cash contribution from AFI, but that AFI “declined to
pay it.”1681 Upon further review of the iterations of the draft settlement agreements, Carpenter

1677 E-mail from R. Schrock to L. Nashelsky (May 5, 2012) [ALLY_0021383].

1678 Dep. of T. Marano, Nov. 12, 2012, at 129:14–136:4.

1679 Id. at 134:13–135:3 (explaining his understanding of the settlement proposal, based on review of Schrock’s

    May 5, 2012 e-mail, at ALLY_0021383).
1680 Id. at 135:15–136:4. Carpenter stated that, ultimately, “the MSR piece came off the table, not because we

    wanted to—I think we just couldn’t figure out how to make it work.” Int. of M. Carpenter, Mar. 4, 2013, at
    257:20–265:23. Carpenter could not recall why the MSR idea did not work and did not explain AFI’s
    apparent agreement to contribute $850 million in cash separate from the proposed MSR sale. Id.
1681 Int. of M. Carpenter, Mar. 4, 2013, at 257:20–258:20.



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stated, “I said to you a minute ago that I knew that we turned the 850 [million] down. Now that
I’m looking at this, I withdraw that.”1682 Carpenter could not explain why the amount of AFI’s
proposed cash contribution changed from $850 million to $750 million,1683 but noted:

                  [T]his was a multi-faceted negotiation. It was heavily
                  contested. . . . It was aggressively pursued by the other side.
                  And, it was very tough. And the terms of it changed numerous
                  times because each side was not only trying to get some
                  economic value, but they were trying to get it in the form that
                  was beneficial to them in one way or another.1684




1682 Id. at 258:21–265:23.

1683 Id. at 261:23–262:5 (“I don’t remember what exactly—because obviously it morphed from then to here.”).

1684 Id. at 261:23–265:23. Lee stated that he did not know whether AFI had ever agreed to contribute $850

    million in cash to the Debtors because he was not involved in “the turns of the documents.” Int. of G. Lee,
    Feb. 20, 2013, at 333:7–335:11. Lee also stated he did not remember ever having discussions in which $850
    million was discussed as the AFI cash contribution. Id. at 333:7–335:11.

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      On May 6, 2012, Marano e-mailed Carpenter and informed him, “[o]n settlement we s/b
fine w your offer.”1685 It is not clear why Marano conveyed ResCap’s acceptance of AFI’s offer
to Carpenter. Carpenter asserted that Marano “was nowhere to be seen” in the AFI-ResCap
settlement negotiations.1686

     Exhibit III.J.3.c—2 below reflects the evolution of negotiations related to AFI’s cash
contribution to the AFI Settlement.




1685 E-mail from T. Marano to M. Carpenter (May 6, 2012) [EXAM00002973]; see also E-mail from R. Schrock (May

    6, 2012) [EXAM00069808] (noting that the “[s]ettlement agreement is agreed upon (today we all hope)”).
1686 Int. of M. Carpenter, Mar. 4, 2013, at 271:17–272:2.



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     Ultimately, ResCap and AFI presented the settlement as one by which AFI provided
$1.05 billion to ResCap, in addition to other non-financial contributions, in exchange for a
Debtor Release and a Third-Party Release.1687 Mack stated at his deposition that the settlement
was comprised of “750 of cash and then there were a couple of other components, some
financing, some loan sales. So in total it was around a billion dollars.”1688 Mack asserted that
the final settlement amount achieved “the headline number [he was] looking for.”1689 Ilany
was also very satisfied with the final settlement amount:

                   [W]hen my advisors and my—when my lawyer tells me “I can
                   take you to court and you’ll win a billion dollars” and I can
                   settle 850 million without paying his fee and going to court, I
                   call that a good workday. When I get to billion-50, it’s even a
                   better workday.1690

     In reality, it is questionable whether the AFI Settlement and Plan Sponsor Agreement
actually provided the $1 billion in settlement value that Mack and Ilany believed was
achieved.1691 Indeed, Ilany thought the settlement amount he and Mack had been able to
negotiate with Carpenter and Tessler was more than his advisors had told him ResCap would
be able to recover through litigation.1692 His belief that AFI was willing to settle for more than
it would have supposedly been liable if the claims were litigated apparently did not give Ilany
any pause as to whether his advisors’ advice was sound. More noteworthy, however, was that
Ilany could not remember if the settlement with AFI was to release only ResCap’s claims
against AFI or to also include a release of claims held by third parties against AFI.1693 Ilany
also did not remember giving any consideration to the value of those Third-Party Claims in
connection with the release given to AFI.1694




1687 See Section III.J.3.f (discussing terms of AFI Settlement and Plan Sponsor Agreement as filed).

1688 Dep. of J. Mack, Nov. 14, 2012, at 104:22–25.

1689 Id. at 105:2–5.

1690 See Int. of J. Ilany, Nov. 28, 2012, at 151:21–152:6. Ilany also noted “[W]e ended up with 850 million of what

    I believe right then and there of good value . . . . And I believe it was more than that because it was the 750 in
    cash and $100 million that we ascribed to the ability to keep and originate mortgages, which means . . . that
    allows us to keep our doors open, our originators open, paying our originators, keeping the machine going,
    and that is valued at much more than $100 million . . . .” Id. at 147:22–148:11.
1691 For the Examiner’s full analysis of proposed consideration for releases, see Section IX.

1692 Int. of J. Ilany, Nov. 28, 2012, at 156:23–157:5.

1693 Id. at 157:6–15 (“[Q:] Right, but [AFI was] getting a release from parties other than ResCap. Did you

    understand that? [A:] I don’t remember.”).
1694 Id. at 157:16–20 (“[Q:] Do you recall any consideration of the value of those third party claims for purposes

    of that release in the settlement? [A:] I don’t remember.”).

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             d. Third Party Involvement In Negotiations Of AFI Settlement Contribution

      In April 2012, certain of ResCap’s advisors—including Lee and Jamie Levitt of
Morrison & Foerster and Mark Renzi of FTI—prepared a presentation of hypothetical
waterfall scenarios to be given to the Steering Committee Group (represented by Kathy
Patrick of Gibbs & Bruns LLP), and considered including scenarios in which AFI would
contribute greater than $750 million in cash.1695 On April 23, 2012, Devine, who maintained
that he was not directly involved in the AFI-ResCap settlement negotiations,1696 recommended
to Hamzehpour that the hypothetical waterfall analysis include a maximum contribution from
AFI of “$750 million rather than one billion” because “it would be better to leave some room
for negotiation,” presumably with Patrick.1697 Hamzehpour responded by saying she was
unable to comment on the proposed settlement with AFI, “as MoFo [wa]s much closer to
that.”1698 ResCap ultimately decided not to incorporate such scenarios into their April 25, 2012
presentation to the Steering Committee Group.1699

     Devine explained that he preferred using $750 million rather than $1 billion because he
“didn’t want a number that had no basis, to [his] knowledge, involved in presentations that
people would rely on and later be surprised and disappointed in.”1700 When asked at his
deposition why he recommended leaving “some room for negotiation,” Devine stated that he
“was mistaken” and he “overspoke with regard to the status of the communications at that
point.”1701 He added that “[t]he 750 was not being negotiated with Kathy Patrick” and “Patrick
wasn’t demanding a certain amount of money from AFI into the estate.”1702 Furthermore,
according to Devine:

                  Patrick understood that the negotiation of a dollar number
                  between AFI and ResCap was going on separately from the
                  discussions over the RMBS settlement . . . [and] that she had no
                  direct role or—or standing to bargain for a number there . . .
                  since that agreement was between the estate and [AFI]. She did
                  care about the number and she told me that she cared about the
                  number for the obvious reason that she wanted to maximize that
                  figure from [AFI].1703
1695 See Dep. of M. Renzi, Nov. 7, 2012, 72:7–73:7.

1696 See, e.g., Dep. of T. Devine, Nov. 19, 2012, at 227:4–12.

1697 E-mail from T. Devine to T. Hamzehpour (Apr. 23, 2012) [EXAM00345835]. Devine further indicated that

    to “use a billion we will need clearance from AFI and I haven’t spoken to [Carpenter].” Id.
1698 See id.; Dep. of T. Hamzehpour, Nov. 13, 2012, at 57:13–60:9.

1699 See Centerview and FTI Discussion Materials Presentation, dated Apr. 25, 2012, at 7–11 [EXAM00176409];

    Dep. of M. Renzi, Nov. 7, 2012, 72:7–73:7.
1700 Int. of T. Devine, Mar. 19, 2013, at 70:5–72:25.

1701 Dep. of T. Devine, Nov. 19, 2012, at 91:4–93:18.

1702 Id. at 95:22–25, 142:18–20.

1703 Id. at 142:21–143:22.



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